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  United States Bankruptcy Coud for the:                                                                                     FILED HARRISONBURG, VA
                 Westem              ofViminia                                                                               U.S. BANKRUPTCY COURT

  case number (/f   known)i-                         Chapter you are filing under:
                                                     u       Chapter 7
                                                                                                                                               sEP 2 7 20t9
                                                     tr      Chapter         11
                                                                                                                       By                                                   /n
                                                     tr      Chapter 12
                                                     Ef      Chapter 13                                                                            tr Check ]f this is an
                                                                                                                                                      amended filing



Ofücial Form 101
Voluntary Petition for lndividuals Fil ing for Bankru ptcy                                                                                                                   12t17
The bankruÉcy forms useyou anil Debtor l to reûer to a debúorfiling alone, A married couple may file a bankruptcy case together.<alled a joint æs*and in joint
cases' tlrcse forms use you to æk fior infonmtion from boür debtos. For example, if a fun¡ asks, "Do you orn a car," Ure ansuær rvould be
a car. When information is needed about the spouses separably the form r¡ses Debúor I and Dúþr 2b distinguish betr¡een them. ln joini
                                                                                                                                                                ¡è
                                                                                                                                            if eithe¡ debtor owns
                                                                                                                                          cases, one of fhe
spouses must report inforrnation as Debtor I and the o,üpr as Deóúor 2 The same pel!þn must be Deöfor t in a!! of the fonns.

Be as complete and acculab as pæsible. lf two maÍied people arc filing togeürer, bottr are eqrnlly responsible for supplying conect inÍonnation. lf morc space is
                                                                                                                     -knournj.
needed' altach a separ# sheet to thb form. On the úop of any additional pages, wrib your name and case number (if              Ansvrær every question.

 EEIUEI     ldenfiflr Yourself
                                                 Aboú Debtor          I                                            Abor¡t Deüo¡ 2 (Spouse Only in a Joint Gæe):
       Yourfull name
       \Mite the name that is on your             ROBERT
       govemmentìssued pidure                    First name
                                                                                                                   First name
       identifi cation (for example, your
                                                 E
       drive/s license or passport).
                                                 M¡ddle name                                                       Middle name
       Bring your pidure identification to        DEAN
       your meeting with the trustee.            Last name
                                                                                                                   Last name


                                                 Suffix (Sr., Jr, Il, lll)                                         Suffix (Sr., Jr, ll, lll)




  2.   A¡l o,ther natnets you have used
       in tfie læt 8 yeas
                                                 First name                                                        F¡rst name
       lndude your manied or ma¡den
       nafnes.
                                                 Middle name                                                       M¡ddle name


                                                 Last name                                                         Last name




                                                 First name                                                        First name


                                             Middle name                                                           Middle name


                                                 Last name                                                         Last name




  3.   Only the last 4 digits of your
       Social Security number or             loo<-¡o<-2              5 0 t
       fede¡al lndividrnl Ta:çayer           OR
       ldentification number
                                             9o<-ro<-
       (rTrN)
                                                            -

Official Form 101                                                 Voluntary Petition Íor lndividuals Filing for Bankruptcy                                                   page   1
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  Debtor   1           ROBERT            E                              DEAN
                                                                                                                          Case number lrfknownl
                       First Name        Middle Name                    Last Name


                                         Aboú Debtor          1:                                              About     Dehr     2 (Spouse Only in a     Joint Cæe):

   4.   Any bus¡ncss nar¡es and
        Employer ldentification              Ú   I nar¡e not useO any   business narrìes or ElNs.              E     I har¡e not used any business nanres or ElNs.
        Numberc (ElN) you have used
        in fñe last 8 yeas
                                             Business name                                                    Business name
        lndude hade narnes and doing
        óuginess as names
                                         Business name                                                        Business name



                                         EIN                                                                  EIN



                                         EIN                                                                  EIN




   s.   Where you live                                                                                        lf tþbtor 2 lives at a difuænt address:

                                         405 7th st
                                         Number              Street                                           Number            Street




                                         City                                       State       ZIP           C¡ty                                       State   ZIP Code

                                             Paoe
                                         County
                                                                                                              County

                                         lf your mailing address is dÍftrentfrom the one above, fill          lf fÞbtor 2's mailing addrcss is difierent from the one
                                         it in here. Note that the court will send any notices to you at      abovg fill it in hee, Note that the court will send any notices
                                         this mailing address.                                                to you at this mailing address.



                                         Number              Street                                           Number            Street



                                         P.O. Box                                                             P.O. Box



                                         City                                       State       ZIP   Code    City                                       State   ZIP Code




  6.    llVhy you arc choosing flris     Ched'<one:                                                           Ched<orn:
        dr3úrrcúto f¡le for bankruptcy
                                         Ú       Overtle last 180 da)rs before filing this petition, I have   E      O¿erthe last 180 days before filing this petition, I have
                                                 lived in this districl longer than in any other districl.           lived in this districf longer than in any other distrid.

                                         E                    reason. belain.
                                                 I har¡e anoûrer                                              E      I haræ anottrer reason.   õçla¡n.
                                                 (See 28 U.S.C. S 1408)                                              (See 28 U.S.C. S 1408)




Official Form 101                                        Voluntary Petition for lndividuals Filing ñor Bankruptcy                                                           page2
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  Debtor   1              ROBERT        E                           DEAN
                                                                                                                       Case number lif known,
                          First Name    Middle Name                  Last Neme



l@|t",t              the Gourt About your Bankruptcy Gase

                                        check one. (For a bfief description of eacfr, see Noúce Reguried by 11 u.s.c.         y2(b)
   7.   The chapterof the Bankruptcy    (Form 8201 0). Also, go to tfe top of page 1 and check the appropriate box.
                                                                                                                      5               for lndividuals Filing for Bankruptcy
        Gode you are choosing to file
        under                           tr       Chapter 7
                                        tr       Chapter 1l
                                        tr       Chapter 12
                                        ú        Chapter 13




  8.    Howyouwill paythefre            E I *n p4, tre entirc fiee nñen I file rry pefition. Please cfreck with the derk's    oftce in your local court for more details
                                             about ttotru¡rcu maypay. Typically, if you are paying the fee yourself, you may paywith castr, cashie/s cfreck,
                                                                                                                                                             ol^ ronáy
                                             order. lf your attomey is submitting your paynent on your behalf, your attomey may pay with a credit cad or cfreck raritr
                                             a pre{rinted address.

                                        ú         to pry the fue in installnrents. lf you choose this option, sign and attacfr the Applicalion for lndividuals to pay
                                             I need
                                             YourFilirg Fee in lnsiælll¡tæ¡tts (Official Form 103A).

                                        E    t equestUat my fre be waived (You may request this option only if you aæ filing for Chapter 7. By law, a judge ma¡¿
                                             but ¡s not requ¡red to, waive your fee, and may do so only if your income is less thãn 1S0% of ttþ oñcja poúert! me
                                             that applies to your Émily size and you are unable to pay the be in installrnenb). lf you cfroose this option, you must
                                                                                                                                                                     fill
                                             oú.te Appliætbn to Have the Chapter 7 Filing Fee Waived (Official Form 1ßB) ãnd file it witn your petition.



                                        úNo.
  9.    Have you filed for bankruptcy
        within the last   I yeas?       EYes.      p¡"1r¡"1                                         \^fEn                          Case number
                                                                                                            MM/DD/YYYY
                                                   D¡strict                                         \Men                           Case number
                                                                                                            MM / DD /YYYY

                                                   District                                         WtEn                           Case number
                                                                                                            MM/DD/YYYY



                                        úruo.
  10. AÞany bankruptcy cases
      pending or being filed by a       EYes. Debtor
                                                                                                                               Relationship to you
      spouse who is not filing this
      cæewith you, or by a business                District                                     \^iten                         Case nurnbe¡ ifknown
      partner, or by an affiliate?
                                                                                                         MM / DD/YYYY


                                                   Debtor                                                                      Relationship to you

                                                   District
                                                                                         _VWÞn _                               Case number, if knor¡m
                                                                                                         MM/DD/YYYY




  11.   Do you rcnt your residence?
                                        Ú r.ro. Go to tine 12.
                                        E Yes. Has your landlord obtained an eúction judgnrent against you?
                                                U No. Gotol¡ne 12.
                                                    E    Yes'Fillouttnitiatsbtene¡¡tAboutanEvkt*nJudgnæntAgaindyo¿l(Form10lA)andfileitaspart
                                                         of this bankruptcy petition.




Offcial Form   101                                      Voluntary Petition for lndividuals Filing for Bankruptcy                                                            page 3
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  Debtor   1             ROBERT                E                               DEAN
                                                                                                                                        Case number     ¿lf   known¡
                         Firsl Name            Middle Name                       Last Name


 EãÍTÌ         Report About Any Businesses You Own as a Sole proprietor


   12. Areyou a sole proprietor of any
                                               ú    uo.   coto p"rt+,
       full- or part-time bus¡ness?            E    yes. Narne and location of business

       A sole proprietorship is a business
       you operate as an individual, and is         Name of business, if any
       not a separate legal entity such as
       a corporat¡on, partnership, or LLC.
                                                    Number              Street
       lf you haræ more han one sole
       proprietorship, use a separate
       sheet and attach it to this petition.


                                                   City                                                                 State           ZIP Code

                                                    Check the aryrcpiate box lo          de     ibe   ¡our busr'i'ress:
                                                    D     Heatth Care Business (as defined in 11 U.S.C. S 101(27A)

                                                    E     Single Rsset Real Estate (as defined in 11 U.S.C. S i01 (S1B)

                                                    E     Stockbroker (as defned in 11 U.S.C. S 101(53A)

                                                    E     Commodity Broker (as defined in 11 U.S.C. S I 01                (6)
                                                    D     Noneofüreabou"




  ,3, Arcvoun,insunderGhapter             ,, W,#:u'#"ffiå¿W{;:;#:#ilffi,K#iffífäi:-tri3íl#""i#l.bî,#i1trîåîå#ífff
       of the Bankruptcy Codeand-are operations,
                                                 ásÞflou¡ statement, and Éderal inærne                          tiax retum or if any of ürese   dodments do not exist,   fullor¡r the prccedure ¡n
       youasmall business        debfor?
                                     rì U.S.C. f f f O(f   S           )1g).
       For a definition of s¡na//busiræss
       deófo¿ see 11 U.S.C. S 10f (51D).
                                               Ú f.¡o.         I   am not filing under Chapter 11.

                                               E No.           I am f ling under Chapter 11, but I am NOT a small bus¡ness debtor according to the definition in the
                                                               Bankruptcy Code.

                                               fl yes.         I am filing under Chapter 11 and I am a small business debtor accoding to tfre defnition in the Bankruptry
                                                               Code.


ffi            Report if You Own or Have Any Hazardous Propertyr or Any Propertyr That Needs tmmediate Attention

                                               M   tto.
  14. Doyouownorhaveany
       property that pæes or is                E   Yes. \Mat is the hazard?
       alleged to pæe a threat of
       imminent and identifiable
       hazard to public health or
       sabty? Or do you orrn arry
       propeÉy that needs immediate
                                                            lf imrnediate attention is needed, wfry        b it needed?
       attent¡on?

      Forexample,    ú  W own
      perishable gaods, or livesbd< that
      mus't be fed, or a building that
      needs urgent repahs?
                                                            \Mteæ isthe        propeff
                                                                                             Number            Street




                                                                                              City                                                       State               ZIP Code




Official Form 101                                              Voluntary Petition for lndividt¡als Filing fior Bankruptcy                                                                    page 4
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  Debtor   I           ROBERT               E                            DEAN
                       First Name           M¡ddle Name                  Last Name
                                                                                                                                Case number      lr   krown)


  EãTGI Explain Your Efforts to Receive a Briefing About Gredit Counseling

   15. Tell the courtwhetheryou            Al¡or¡t Dehor 1:                                                          Abotf   fÞbr    2 (Spouse Only ¡n a Jo¡nt Case):
       have received a briefing
       aboú credit counseling.
       The law requires that you           You must check one:                                                       You must check one:
       receive a briefing about credit
       counseling before you file for      Q    I rcceived a brietrng fiorn an apprcved credit counsel¡ng            E   I rcceived a briefing frorn an approved credit counsel¡ng
       bankruptcy. You must Ùlnhfu [y           agencywitñinthe 1æ bebre tfited$b bankruÉy pe{itim,                      agency within the lg) b€fiore l fited üb bankrupby peütion,
       check one of tte following               and I rcceived a ceÉificate of completion.                               and I r€ceived a certificate of completion,
       choices. lfyou cannot do so, you         Attach a copy of the certificate and the peyment plan, if                Attach a copy of the cert¡ficate and the payment plan, if
       are not eligible to file.                any, that you developed with the agency.                                 any, that you developed with the agency.

      lfyou fle anyway, the court can      E    I rcceVed a briefing frorn an approved cr€dit counseling             E   L"cev"¿ a brietrng frorn an apÊoved cred¡t counseling
      dismiss your case, you will lose          agency within tfie l8O days beúolc I filed this bankruficy               agency within the tg) days belore I filed this bankrupúcy
      wfiatever filing fee you paid, and        pet¡tion, but I do not have a certificate of coorpbtftm.                 petition, h¡t I <ro not have a certificaúe ofcornpletion.
      your creditors can begin                  Vvithin 14 days after you file th¡s bankruptcy petit¡on, you             \Mthin 14 days after you file this bankruptcy petition, you
      collection ac{iv¡ties aga¡n.              MUST fìle a copy of the certificate and payment plan, if                 MUST file a copy of the cert¡ficâte and payment plan, if
                                                any.                                                                     any.

                                           ú    I   ort¡ry that I asked fur crcdit courisel¡ng servbes   frrorn an   Q   I c"rtiry O"t I asked for credit counsel¡ng serv¡cæ ftorn an
                                                approved agency, but was unable to oHain those services                  appEved agency, bt¡t was unabþ to oha¡n tho€e servic€s
                                                durirg the 7 days after I made rry requæú, and exigent                   during fhe 7 days afrer I made nry rcquest, and exigent
                                                c¡u¡mstances rnerit a 3Gday bmporary waiver of the                       c¡rcumstances meÉt a 30day brnporary wa¡ver of the
                                                rcqu¡rement                                                              rcquirement
                                                To ask for a 3G.day temporary waiver of the requirement,                 To ask for a 3Gday temporary waiver of the requirement,
                                                attach a separate sheet explaining what efforts you made                 attach a separate sheet explain¡ng what efiorts you made
                                                to obtain the briefing, why you were unable to obta¡n it                 to obta¡n the briefing, why you were unable to obtain it
                                                before you filed Íor bânkruptcy, and what exigent                        before you filed for bankruptcy, and what ex¡gent
                                                circumstances requ¡red you to file this case.                            circumstances required you to file this case.
                                                 Your case may be dism¡ssed if the court is d¡ssatisfied                 Your case may be d¡smissed if the court ¡s d¡ssatisfied
                                                 with your reasons for not receiving a briefing before you               with your reasons for not receiving a brief¡ng before you
                                                 filed for bankruptcy.                                                   filed for bankruptcy.
                                                 lf the court is satisfied with your reasons, you must still             lf the court is sât¡sf¡ed with your reasons, you must still
                                                 receive a brief¡ng with¡n 30 days after you f¡le.                       receive a briefing with¡n 30 deys after you file.
                                                 You must f¡le a certificate from the approved agency,                   You must fìle a certificate from the approved agency,
                                                 along with a copy ofthe payment plan you developed, if                  along with a copy of the payment plan you developed, if
                                                 any. lf you do not do so, your case may be d¡smissed.                   any. lf you do not do so, your case may be dismissed.
                                                Any extension of the 30-day deadline is granted only for                 Any extension of the 30-day deadline is granted only for
                                                cause and ¡s limited to a maximum of 15 days.                            cause and ¡s lim¡ted to a maximum of 15 days.
                                           E    t am not requ¡r€d to receive a briefing aboú cr€dit                  Q   t am not requ¡red to receive a b.iefing about credit
                                                counseling becauseof:                                                    counseling because of:
                                                E frcapaclç         I have a mental illness or a mental                  E      fncapaclty. I have a mental illness or a mental
                                                                    defìciency that makes me incapable                                      deficiency that makes me ¡ncapable
                                                                    of real¡zing or making rational                                           of realizing or making rational
                                                                    decisions about f¡nances.                                                 decisions about f¡nances.
                                                D Obatitity.        My physical disab¡l¡ty causes me to                  E      OisaUifity. My physical disability causes me to
                                                                    be unable to participate in a briefing                                    be unable to part¡c¡pate in a br¡ef¡ng
                                                                    in person, by phone, orthrough the                                        ¡n person, by phone, orthrough the
                                                                    ¡ntemet, even after I reasonably tried                                    internet, even after I reasonably tried
                                                                    to do so                                                                  to do so.
                                                E lctire      O,rty. I am currenfly on active mil¡tary duty in           E          nve Orrty. I am currenfly on act¡ve military duty in
                                                                    a military combat zone.                                                   a mil¡tary combat zone.
                                                lf you believe you are not requ¡red to receive a briefing                lf you bel¡eve you are not required to receive a briefing
                                                about credit counseling, you must Rle a motion for wa¡ver                about credit counseling, you must f¡le e motion for waiver
                                                of credit counseling with the court.                                     of cred¡t counseling with the court.




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  Debtor   1             ROBERT                  E                               DEAN
                                                                                                                                Case number lrTknom)
                         First Name              Middle Name                     Last Name


  *tÍfar       Answer These Questions for Reporting purposes

   16'   Whatkindofdebûsdoyou                        16a. Aæyourdebûsprirnarilyconsumerdeh?&,,tsurr,rdebßaredefinedinllU.S.C.g10i(B)as,,incunedby
         have?                                             an individual primarily for a personal, family or household purpose."
                                                           D      t¡o.Gotoline16b.
                                                           ú      Y"r.Gotoline17.

                                                     16b. Ale your debts primrily hrsiness detfs? Br¡síness deób are debts that you inq¡red to obta¡n money for a
                                                           business or inræstrnent or through the operation ofthe business or invesÍnent.
                                                           E      tto. Go to line 16c.
                                                           E      Yes.    Goto line 17.

                                                     16c. state   the type of debts you on,e that are not consurner debß or business debts-




   17. Arcyoufiling      underChapterT?              ill No. I am not filing under Chapter 7. Go to line lB.
         Doyouest¡matethatafterany                   tr    Yes. I am filing under Chapter 7. Do you estimate that afier any exempt property    is exduded and administratiræ
         exempt property b excluded and                            expenses afe paid that funds will be available to distibrre to unseo¡red creditors?
         adminbbative expenses arc paid
         thatfunds will be available for                              Eruo
         distribution to unsecured                                    D      yes
         creditors?

   18. Hoìrmarry creditos doyou
         estimab thatyou owe?
                                                      UI   1-49                 E r,ooo¡,ooo         E    zs,oot-so,ooo   E    so,oootoo,ooo    E    Moretnan 100,000
                                                      tr   5S.99                E s,oor-ro,ooo
                                                      tr   10G199               E ro,ool-zs,ooo
                                                      tr   20G999


  19. How much doyou estimate your                   E sosso,ooo                              E   $r,om,oor-$10milion                     D ssoo,ooo,æ1-$1 bilion
         assets to be worth?
                                                     E $æ,oor-$ræ,ooo                         E   $to,ooo,oo1-$50 milion                  E gr,ooo,ooo,ffi1-$10 bilion
                                                     ú gtoo,oor-$soo,oæ                       D   $so,oæ,oor-gloomiilion                  E $ro,ooo,ooo,oo1-$so bilion
                                                     E $soo,oot+1 mirion                      E   sroo,ooo,ool-$soomilion                 D More than $50 billion
  20. How much do you estimate your                  ú     ss$so,ooo                          D   $r,ooo,oor-$10 milion                   E    ssoo,ooo,ool-$1 bilion
         liabilities to be?
                                                     D     sæ,oorsroo,ooo                     E   sto,ooo,ooi-$so milion                  E    $t,æo,ooo,@1-$10 bilion
                                                     E $roo,ær-$sæ,ooo                        E   sæ,ooo,æ1-$loomilion                    E    $ro,ooo,ooo,oo1-$50 bilion
                                                     E $soo,oot-$1 mirion                     E   $roo,ooo,oo1-$soomilion                 E     More tran $50 billion

 lîãtrÍ/       Sign Below

  Foryou                              I have examined this petition, and Idedare under penalty of perjury that the information provided is true and conect
                                      lf I haræ cfrosen to file underchapte¡7,1am awaæ that I may proceed, if eligible, under chapterT
                                                                                                                                           ,11,12, o113 of tiüe 11, united states
                                      Code, I understand the relief available under eacfr cfrapler, and I cfroose to p=roceed under Chapter 7.
                                      lf no atlomey represenb rìe and I did not pay or agree to pay someone wño is not an attoney to help
                                                                                                                                          rne fill out this docurnent, I have
                                      obta¡rìed and read the rptice required by 11 U,S.C. S 342(b).
                                      I request relief in accordance with the chapter of title 11 , United States Code, spec¡Íed in
                                                                                                                                    this petition.
                                      I understand making a fulse stalement, conceal¡rg property, or obtaining money or property
                                                                                                                                  by ú'aud in connedion with a bankruptcy case
                                      can result in fines up to $250,S0, or imprisonment forup to 20 years, or both. ia u.s.C. g$ rsz, re+f 1S19,
                                                                                                                                                   ard 3571.
                                         vI.\\            f- .)..$              F    s***                                                    ,



                                             ROBERT E DEAN, Debtof               1


                                             Exeortedon 0927fã)19
                                                               fvlfrrtl   OOl   WF-
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  Debtor   1          ROBERT            E                           DEAN
                                                                                                                           Case number   (rT   known¡
                      F¡rst Name        Middle Name                  Last Neme



    For you if you ae filing   thb          The laiv allovrrs yor.r, as an indMdual, to represer¡t yourself in bankruptcy court, butyor¡ should undestard
                                                                                                                                                          that marry people
    bankrupûcy withort an  úmey             find it exüemely difficult to rcpresent therîselyes successñrlly Becar¡se bankruptcy hæ lorg-brr¡ nnarrca
                                                                                                                                                                anã þl
                                            oons'equences, you afe strongly uqed to hi]e a ql,¡alified ffirrcy
    lf yor are rcprcsenbd by an úmey
    you do not need to file thb page.       To be successful, you must conecfly file and handle your bankruptcy case. The rules are very technical,
                                                                                                                                                    and a mistake or
                                            inadion may affect your righb. For example, your case may be dismissed because you did not file a required
                                                                                                                                                         doo.rnrent, pay        a
                                            fee o1tim9' attend a meeting or hearing, or cooperate with the court, case ûustee, Û.S. tn stee, bankruptcy
                                                                                                                                                               administraior, or
                                            audit firm if your case is selecied for audit. lf that happens, you could lose your right to file another case,
                                                                                                                                                            orþu may tose
                                            protections, induding the benefit of the automatic stay.

                                            You must list all your property and debb in the scfredules that you are required to file with tre court. Even if you plan
                                                                                                                                                                        to pay a
                                            partiqllar debt outsirle of your bankruptcy, you must list that debt in your schedules. lf you
                                                                                                                                           do not list a Oe¡t, úre OãOt may not Oe
                                            discharged. lf you do not list property or property daim it as exempt, you may not be a'bþ to keep the property. The judgê
                                                                                                                                                                             can
                                            also deny you a discharge of all your debts if you do something dishonest in your bankruptcy case, sucfi as
                                                                                                                                                                ãesroyinf or
                                            hiding propeny, falsiffing records, or lying. lndividual bankruptcy cases are randomly auàited to determ¡ne if
                                                                                                                                                           Oebtors ñaræ been
                                            accurate, tn¡thful, and complete. Bankru@y fraud b a serior¡s crirre; you cou6 É nned ard imprboned.

                                            lf you decide to file without an aüomey, the court epects you to fulloì , the rules as if you had hired
                                                                                                                                                    an aftomey. The court will not
                                            treat you difierendy because you are filing for yourself. To be successful, you must be familiar with the United
                                                                                                                                                                States
                                            Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and the local rules of tte court in wtrich your case
                                                                                                                                                                    is filed. you
                                            must also be familiar wih any state exemplion lauæ hat apply.

                                            Are you aware that filing for bankruptcy ¡s a serious adion with long{erm financial ard legal conseqr¡ences?

                                            Eruo
                                            úvo
                                            Are you aware Ûrat bankruptcy ftaud ¡s a serious crinre and that   if   your bankruptcy fonrs are ¡nacoJrate or incomplete, you
                                            could be fined or imprisoned?

                                            E    ¡¡o

                                            úvo
                                            Did you pay or agree to pay someone who is not an attomey to help you fill out your bankruptcy forms?

                                            úruo
                                            fl   Yes. Narneofperson
                                                        lrttaù Bankuptq    Pefr'tion   PreparefsNotb, Dedantion, and Sþnature (Official Form 119).


                                            By signing here, I acknodedge that I understand the risks invofued in filing without an attomey. I have read
                                                                                                                                                          and understood this
                                            notice, and I am auaæ that filirg a bankruptcy case withoú an attoÍìey may cause rne to lose nry rights
                                                                                                                                                      or property if I do not
                                            properly          the case.


                                             x   ROBERT E DEAN, Debtor           1



                                                 Date           ætnm19
                                                                MM/ DD/ YYYY


                                             frntadphone       (54O)244-8487
                                                                                                                    Contact phone

                                             Cell phone                                                             Cell phone
                                            Email   address     CINDYDEAN3K@GMAIL.COM                               Emait address




                                                                                                                                     -
Official Form 101                                       Voluntary Petition for lndividuals Filing for Bankruptcy
                                                          -                                                                      -                                         page 7
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   Debtor   1                     ROBERT                   E                     DEAN
                                 First Name                Middle   Name        Last Name

   Debtor2
  (Spouse, if      f¡l¡ng)       F¡rst Name                M¡ddle Name          Last Name

   United States Bankruptcy Court for tfre:                                Westem D¡sûict of V¡rg¡n¡a
                                                                                                                                                      D   Check if this is an
  Case number                                                                                                                                             amended filing


Official Form 1064/8
Schedule A/B: Property                                                                                                                                                               12t15
ln each caÞgory separaÞly list and describe iterrs. List an æet only once. lf an asset fits in morc than one category list the æset in
                                                                                                                                       the c#gory wheæ you think it
fts b€st Be as complete and accultr as pæible. lf two manied people ae filing togettrer, both arc equally rcsþoñsibþ tor supplying comact infurmation. lf more
space is needed, attach a separab sheet to thb furm. On the top of any additional pages, wrb your nanre and case number (if kn'own¡lAnstrer every qr¡estjon,


 EãTÍT Describe Each Residence, Buitding, Land, or Other Real Estate You Own or Have an lnterest ln
      Do you      onn or have arry    þal   or equiúabþ inbrcst in arry rcsidence, building, land, or similar property?
      I     No. Goto Part2.
      ú   Yes. Ultrere ¡s the propefty?
      1.1       ¡{05 7th   St                                        What is the property? Check      att that appty.
                                                                                                                                Do not deducl seo¡red daims or e¡<emptions. Put the
                Street address, if ava¡lable, or other
                descr¡pt¡on                                          f, Single-family home                                      amount of arry seflred daims on Sdtedule D:
                                                                     I Duplex or mulli-unit building                            Cæddors Who Have Claims Secwed by Property.
                                                                     E Condominium or cooperative                              Current value of the         Cunent value of the
                                                                     E ManuFadured ormobile horne                              entirc propeÉy?              portion you   orn?
                Shenandoah, VA2:M9                                   fl t-an¿                                                              Sl3¡1,807.m                    $r34807.00
             C¡ty                             State      ZIP Code    I lnvesÍnentproperty
                                                                     I Timeshare                                               tÞscribe the naû¡rc of your onneship inúercst (such
                                                                                                                               æ fue simplg bmncy by the entireties, or a lib
                Paoe
             County
                                                                     E ottrer-                                                 estab), if known.
                                                                    Who hæ an inbrcst in tfie property? Check one.
                                                                                                                                Homesbad
                                                                     fl   oeotor t onty
                                                                     I    Debtor2 only
                                                                     I    Oenor t and Debtor2 only                             E    Ctrec* f frS is commun¡ty property
                                                                                                                                   (see instruclions)
                                                                     D    At þast one ofthe debtors and another

                                                                    Source ofVhlue:
                                                                     https:/lwyyur.zillor.com/homedetaih/¿o$7thst-ghenandoah-vA-22g492921962_zpid/
 2.   Add fte dollar value of the portion you own for all of yourenfies fiorn Part              l,   including arry enties for pages
      you have frched for Part l. Wrib that number                                                                                                    +            $r34807.00




Official Form 106Á/8                                                                     ScheduleA/B: PropeÉy                                                             page   I
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 Debtor    1                    ROBERT                 E                         DEAN                                              Case number   l,T   knownl
                                First Name             Middle Name               Last Name




  EEETjT Describe Your Vehicles



 Do you wn, leæe, or have þal or equ¡table ¡nbrest ¡n any veh¡cles, wheürer ttrey arÞ Þgþbrcd or nof.) lndude any vehides
 you own that someone else drÛes. lf you lease a vehide, also report it on Scáedu/e G: Executory Conbads and lJnexpired
                                                                                                                        Leaæs.

 3.     Cas, vans, tucks, tractos, sport utility vehicles, motorcycles
        ú       r.¡o

        D       yes



 4.    Wabrcraft, aircrafr, motor horres, ATVs and oürer rccæatiorn! vehicles, oürervehicles, and acccssories
       ãampþsi Boats, trailers, motors, personalwatercraft, fishing vessels, snowmobiles, motorcyde accessories
       úxo
       E       Yes

 5.    Add the dollar value of the portion you own for all ofyour enbÞs from Part 2, including any enûies for pages
       you Ìnve        ffi
                      hed ûor Part 2. Wrib that number                                                                                                          Ð               $0.00




 EEtZ-r Describe Your Personal and Household ltems

  Do you own or have arry legal or             equibble ¡nþrcst in ary d the following ibrrs?                                                                   Gunent value of the
                                                                                                                                                                portionyou oør?
                                                                                                                                                                Do not dedud seq.rred
                                                                                                                                                                daims orexemptions.

 6.    Household goods and               fumishinç
       úanples:              Major appl¡ances, fumiture, linens, cfiina, kitchenware

       ü       r.ro
       E       Yes. Describe........


 7.    Elec{Ionics
       Fxampbs               Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, sc¿¡nners; music collections;
                             eledron¡c devices induding cell phones, c¿tmeErs, nedia players, games

       úNo
       D       Yes. Describe........


 8.    Cdlectibþs of value
       ExanÑs                Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objecls;
                             slamp, coin, or baseball catd colleclions; other collecf¡ons, memorabilia, collectibles

       ú r'¡o
       E       Yes. Describe........


 9.    Equ¡pment for sports and hobbies
       Exaffis;              Sports, photographic, exercise, and other hobby equipmen[ bicydes, pool tables, golf dubs, skis; canoes and kayaks;
                             carpentry tools; mus¡cal instruments

       Úruo
       E       Yes. Describe..-.....


 10.   Fircanns
       F:<anñs;              Pistols, rifles, shotguns, ammunition, and related eguipment

       úNo
       D Yes. Describe........


Official Form 106Ê/8                                                                      Schedule A/B: Property                                                            page 2
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  Debtor     1                     ROBERT                E                         DEAN
                                   First Neme            Middle Name
                                                                                                                                                Caæ.numbFJr   6   known)
                                                                                    Last Name



  11.    Clothes
         Exanples: Everyday dothes, furs, leather coats, desþner                 vvear, shoes, accessories

         Úruo
         I       Yes. Describe........



  12.    Jer,ì¡efy

         Exandes:              Everyday je¡æ|ry, costume jewelry engagement rings, wedding rings, heirloom jernæ|ry watches, gems, gold,
                                                                                                                                         silver
         MNo
         E       Yes. Describe........




  13.    Non-farmanimab
         Exa@s: Dogs, cats, birds, horses
         úNo
         E Yes. Describe........

  14'   Atry       dter pesonal         and household ibms you did notaleady !ist, including arry healtñ aids you did                 nd list
         ú r,lo
         E       Yes. Describe........



 15.    Add   he dolþr vah¡e of all of your enfÞs from Part 3, including any enüies br pages you have aüached
         for PaÉ 3. Wriûe that number hele...................,..,                                                                                       -)                                 $0.00




 EE¡IúIA Describe Your Financial As.sets

  Do    yor ourn or have arry þal or equitabþ ínHest in ary of the fulkcwing?
                                                                                                                                                                           Current vah¡e of the
                                                                                                                                                                           portion you own?
                                                                                                                                                                           Do not dedud seo.¡red
                                                                                                                                                                           daims orexemptions.

 16.    Cæh
         Examples Morcy you have                in your wallet, in your home, in a safe deposit box, and on hand wfren you file your petition

         ú       r,¡o
         E       Yes............                                                                                           .....   Cash..............



 17     tÞpoeib of money
        Exanples: Checking, savings, or otler financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                                                                                                                                      and other
                              similar institutions. lf you have multiple accounts with the same institution, list eacfr.

        MNo
        E        ves.


                                                       lnstitution name:



        17.1. Checking account:




Offcial Form 106A/8                                                                          ScheduleA/B: PropeÉy                                                                      page 3
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  Debtor    I                     ROBERT       E                        DEAN
                                                                                                                 Case number lff known)
                                  First Name   Middle Name              Last Neme



        17.2. Checking account:



        17.3. Savings account:



        17.4. Savings account:



        17.5. Certificates of deposit:



        17.6. Oher fnancial account:



        1   7.7. Other financial account:



        17.8. Other financial account:



        17.9. Other financial account:


  18.   Bonds, mutual funds, or publicly taded      sbcks
        fu,affis: Bond funds, investrenl       acc@nts with brokeraç firñÌs, money market a@unls

        úNo
        E ves..................
        lnstitution or issuer nan¡e:




 19.    Non'puHicly haded súock and intercsÉs in      incorpol&d and unincorpor#d businesses, ¡nclud¡ng an inbrcst in
        an LLG, partneship, and jointventure

        M       ¡to
        E       Yes. Giræ specific
                infomation about
                them.......-...........

        Narne of        entity:                                                          % of ownership:




 20.    GorremÍìent and corporate bonds and oÉher negotiable and non+regotiable lnstruments
        Negotiable in*uments indude personal cfrecks, cashiers cfrecks, promissory notes, and money orders.
        l!10,n'negot'able inshtmenfs are those you cannot transÍ-.r to sonreone by signing or delivering
                                                                                                         them.
        Úruo
        E       Yes. Giræ specific
                information aborf
                them...................

        lssuer narne:




Offcial Form 1064/8                                                              ScheduleA/B: Proærty                                        page 4
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  Debtor   1                 ROBERT                  E                    DEAN
                                                                                                                            Case number l,f known)
                             First Name              Middle Name          Last Name



  21.   Retircnrentorpensionaccounts
         Exanples        lnterests in lRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

         úruo
         D Yes. List each account
               separately.

        Type    ofaccount                 lnstih¡tion narne:


        401(k) or similar plan:



        Pension plan:



        IRA:



        Retiæment account:



        Keogh:



        Additional account:


 22.    Secudty depæits and prepayments
        Your share of all unused depæib you haræ made so that you may contintæ service or use fiom a company

        ãampÞs; Agreements with landlords, prepaid rent, public utilities (eledric, gas, water), telecommunicatíons compan¡es, or
        others

        MNo
        D
                                  lnstitution name or individual:

        Electric:



        Gas:



        Heating oil:



        Seodty deposit on rental unit:


        Prepaid rent:



        Telephore:



        Water:



        Rented fumiture:



        Othen




Official Form 1064,/8                                                              Schedule A/B: Property                                                page 5
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 Debtor   1                     ROBERT                    E                 DEAN                                            Case number l,f knowr,)
                                First Name                Middle Name       Last Name


 23.   Annuities (A contracf for a periodic payment of money to you, either for life or for a number of years)

       M      t'to
       E      ves.....................

       lssuer name and desøiption:




 24'   lnbrests in an education IRA in an account in a qualified ABLE program, or under a qt¡allfied             str   hrition program.
       26 U.S.c. SS 530(bX1), 52eA(b), and 529(b)(r).

       M tlo
       D      Yes.....................

       lnstihfion name and descript¡on. separately file the records of any interests. 11 u.s.c. g 521(c):




 25. Trusts,equitableo¡fr¡h¡reinbr€sts¡nproperty(oürerthanarythinglbbdinlinel),and                         rights or powes exercisabÞ for your
       benefit

       ú      r'ro
       D      Yes. Give specific
              infomation        abor-¡t them--..



 %.    P#nûs, copyrights, Eademrks, üade secrcÉs, and oürer inþlþcü.ral property
       fuamples: lntemet doma¡n names, vræbsites, proceeds fom royalties and licensing agreernents
       MNo
       U      Yes. Give specific
              information about them....


 27.   Licenses, franchises, and oürer geneal inrtangibles
       Examples: Building permits, exdusive licenses, cooperative association holdings, liquor licenses,
                            proÞssional l¡censes

       ú      r,lo
       E      Yes, Give specific
              informalion about them....


 flloney or gopeÉy           oled b you?                                                                                                              Gurrent value of the
                                                                                                                                                      portionyou own?
                                                                                                                                                      Do not deduct secured
                                                                                                                                                      daims orexemptions.

 28. Taxefun6oledtoyou
       M      l'¡o
       E      Yes. Giræ specificinformation about
                                                                                                                              Federal:
                      them, induding wfrether you
                      already filed the retums and the                                                                        State:
                      tiax years.......................
                                                                                                                              Local:



 29.   Familysupport
       Exaffis              Past due or lump sum alimony spousal support, cfrild support, ma¡ntenance, divorce setüement, property set¡ement




Official Form 106Ä/8                                                                 ScheduleA/B: Property                                                       page 6
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  Debtor    1                ROBERT                                             DEAN
                                                                                                                                     Case number (if kr,own)
                             First Name               Middle Name                Last Name



         úruo
         E Yes. Give specific information........
                                                                                                                                          Alimony:

                                                                                                                                          Maintenance:

                                                                                                                                          Support:

                                                                                                                                          Divorce settlement:

                                                                                                                                          Property seüenrent:


  30.   Otlrer amounts sorneoræ (x¡es you
         Exanples: Unpaid wages, disability insurance payrnents, disability benefits, sick           pay, vacation pay,   wwkers compensation, Social
                           Security berÞfits; unpairl loans you made to someone else

         ú      r,lo
         D      Yes. Give specific information..........




 31.    lnbresûs in insurance policies
         Exanples: Health, disability, or         life ¡nsurance; health savings account (HSA); cred¡t,   homeomeis, or rentefs insurance
         úxo
         D      Yes. Namethe insurance comoanv
                     of each policy and l¡st ib value.... cønpany            narne:                                        Beneficiary:                         Surrender or refund value:




 32.    Arry inþr€6t ¡n property that         b   dræ you from someone who       læ   died
        lf you are the beneficiary of a living trust,      exped proceeds from a life insurance policy, or are olrently entitled to reæive property
        because someone has          dhl.
        úruo
        E Yes. Give specific information..........



 33.    Claims against third parties, wheüer or not you have filed a læsuit or made a demand fur payment
        Exarnfts:         Accidents, employment disputes, insurance daims, or rþhts to sue

        MNo
        E       Yes. Describe each daim................




 Y.     Offier contingent and unliquidated clainrs of every naüre, including counterch¡ms of tfie deho¡ and rights
        tosetoficlaims

        ú       ¡¡o
        E       Yes. Describe eacfi daim................




 35.    Arry finarrchl     æeß     yor¡ d¡d not   dr€dy list

        üruo
        E Yes. Give specific information..........



Offcial Form 1064/8                                                                      ScheduleA/B: Propeñy                                                                 page 7
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 Debtor       1                  ROBERT                 E                       DEAN                                     Case number   (rT   known)
                                 FiÍst Name             Middle Name             Last Name



 36.      Add the dolhr \talue of all of your entries from Part 4, ¡ncluding ary enties for pages you have attached
          for Part4. Wriûe that number here....                                                                                                                         $0.00



 lrãfG              Describe Any Business-Related Propertyr You Own or Have an lnterest ln. List any reat estate in part                               l.
 37   .   Do you         orn or have arry þal      or equi'table ¡nterest ¡n arry business+elabd property?
          flruo. co to eart            o.

          EYes. Go to l¡ne 38.

                                                                                                                                                      Cunentvalue ofthe
                                                                                                                                                      portion you   wn?
                                                                                                                                                      Do not deduct secured
                                                                                                                                                      claims or exemptions.

 38.      Accounts eceivable or cornmbsions you alrcady eanred

          úNo
          B Yes. Describe........

 39.      Office equipment              fumbhinç, and supplies
          ExarnpÞs Business-related computers, softnare, modems, printers, copiers, fax machines, rugs, telephones, desks, cùrais, eledronic devices

          úHo
          E Yes. Desøibe........

 40.      L/bchinery fit<furcs, equipnent supplies you use in h.rsiness, and tools of your           tade

          ú       r,¡o
          I       Yes. Describe........



 4'1. Inventory

          MNo
          E       Yes. Describe.......



 42.      lnbr€sts        ¡n   partnership orjointventurcs

          úNo
          E Yes. Describe........
          Narne of entity:                                                                       % of ownership:

                                                                                                                   o/o




 43.      Gr¡stomer lists, nniling lisús, or other compilations
          úruo
          E       Yes. Do your lists include personally identifnbþ ¡nfonrntion (as defined in 11 U.S.C. f O1(41AX
                                                                                                       S
                          ú     r.¡o
                          E    Yes. Describe........




Offcial Form l06A/8                                                                      ScheduleA/B: Property                                                   page   I
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 Debtor   I                    ROBERT                E                          DEAN                                              Caænumbr ¡if known¡
                               First Name             Middle Name               Last Name



 zl4.   Arry busirress-rêlabd poperty you d¡d            nd aheady list

        MNo
        E     Yes. Give specific
              information.........




 45.    Add    üþ dollar value of all of your enties from          Part 5, ¡ncluding any    entbs for   pages you have attached
        for Part 5. Write that number                                                                                                                                    $0.00



                Describe Any Farm and Gomrnercial FishingrRelated Property You Own or Have an lnterest tn.
                lf vou    wn     or have an inbrcs{ in famland, list it in Part   1.

 Æ.     Do yol¡ ourn or have any legal or          equitabþ lnbrcst in aryr fann- or commerchl fishing-relabd poperty?
        flruo. Goto e"rtz.
        EYes. Go to l¡ne 47.

                                                                                                                                                        Gurrent value   ofthe
                                                                                                                                                        portionyou orn?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        cla¡ms or exemptions.

 47. Farmanimb
        Exanples            Livestock, poultry, fann-raised fish

        MNo
        E     ves.........................


 48.    Grops.+ither growing or harvested

        ú     r,ro
        E     Yes. Give specific
              information.............


 49.    Farm and fishing equipment, implements, mchinery, fixturcs, and                     toob of trade

        úNo
        E ves.


 50.    Farm and fishiqg            supflÞs, chemicab, and bed

        úNo
        D ves..........................


 51.    Arry fann- and commercial            fishirqætrd     property you did   noû    alrcady list

        ú     ¡ro
        E     Yes. Give specific
              information,............



 52.    Add the dollar value of all of you¡ entþs from Part 6, including ary enüios úor pages you lnve attached
        for PaÉ 6. Wriþ that number hee....................                                                 .................+                                           $0.00




Official Form 1064/8                                                                        ScheduleA/B: Property                                                  page 9
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  Debtor   1                  ROBERT                  E                            DEAN
                                                                                                                                      Case number (ifknown)
                              First Name              Middle Name                  Last Nâme




  t*:tÍúa Describe All Propertyr                    You Own or Have an lnterest in That You Did               llot Lis{ Above
  53.   tlo you have oüer goperty of arry kind you did nd alrcady lisf?
        úa@s               Season tickets, country dub membership

        ú ¡ro
        E      Yes. Girre specific
               infu rmation.............




  54. Addthedollarvalueof                  all of yourentiesfrom      partT.Wriþthdnumberhere                      ..........................+
                                                                                                                                                                              $0.00



  l:Elfl:l List the Totals of Each Part of this Form

 55.    Part 1: Total lealestab, line          2.                                                                                         -Ð


 56.    Part2:Totalvehicles,line5                                                                     $0.00


 57.    Part 3: Toúal perconal and hor¡sehold             ibrrs,   line   iS                          $0.ür


 58.    Part 4: Total financial æseús, Iine 36                                                        $0.00


 59.    PartS:     Túl     br¡siness-relúd property, lirre45                                          $0.æ


 60.    Part 6: Toúal farm- and frshing-related property lirc 52


 61.    PaÉ 7: Total oürer property not Iisbd, line 54                               +                $o.oo


 62.    Total personal property Add lines 56 thror.rgh 61..............                               $0.00      Copy personal property          total+   +             $0.00




 63.    Toúal of all property on Schedule A/8. Add line 55 + l¡ne 62
                                                                                                                                                                      $134807.00




Official Form 1064/8                                                                      ScheduleAiB: PropeÉy                                                        page   l0
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     Debtor   1                 ROBERT                  E                   DEAN
                               F¡rst Name              Middle   Name       Last Name

     Debtor2
     (Spouse, if filing)       First Name              Middle   Name       Last Name

     United States Bankruptcy Ccxrrt for the:                         Westem Dishictof

     Case number
     (if kno^rn)
                                                                                                                                                E   Chectif this ¡s an
                                                                                                                                                    amended filing


Official Form 106C
Schedule G: The                                                  You GIa im as Exempt                                                                   04t19
Be as compbb and accuraÞ as pæsibþ, lf two marded people ae filing togEüei both arc equally rcsponsible fursupplying conect information.
                                                                                                                                             tlsing the
prcpertyyou listed on Scäedule NB: PrcæÉy(Official Form 106A/8) as yoursource, list the ploperty thatyou
                                                                                                         claim as exempt lf rrore space is needed, fill
ffichtothis page æ rnarry eopiæ ol Part 2: Addiliøal Pageæ nec€ssary On the top of any additional pages, wrib your name and case number (if knom).orrt and
For each ifcm of property you claim æ exemp! you must specify tfæ amount of the exemption you claim. one rray
                                                                                                                of dclirg so b b state a specific dollar amount as
exempt Alternatively' you may claim the full fair market value of the property being exem@d úp to the amount oi any appicable
                                                                                                                               staûrtrory lim¡t Some
exemptions+uch as thæe for health aids, rights to receive certain benefits, and tax+xempt retircment funds-may be unlimited in dollar
                                                                                                                                             amount Ho'^rever, if you
claim an exemption of 100% of fair marketvalue under a lawthat limils the exemption to a particular dollar amountand the value
                                                                                                                                of the property b detefmined to
exceed that amount, your exemption would be limiþd to the applicable staüfory amount


 lrElÍfl ldentifyr the          Propertyr You Glaim as Exempt

         ìlultich set of exemptions ale you chiming? check        øe   onty, even   if your spouæ is frling with you.
 1
          ú   You are daiming state and Þderal nonbankruptcy exemptions. 11 U.S.C. S22(bX3)
                                                                                  S
          D   You are daiming federal exempt¡ons. 11 U.S.C. S S22(bX2)


 2.      For any propelty    yot list on Scfiedule   AIB that you cla¡m æ exempt, fill in the infurmatir¡n    belor.

 Bfuf descdption of the propeÉy and line on                       Cunent value of the           Amourü of the exemption you ctaim           Specific laws that allor exemfiion
 Scheduþ A/ts that lisús ttrb propefi                             portion you   orn
                                                                  Copy tlle value from          M<      only one box for   edt   exempbn.
                                                                  SúeduleAlB

 3.      Ale you claiming a homesÞad exenrption of mole than           gl703f)?
         (Subject to   adjustneñ,on4n1mand every 3 yeaæ afrerthat furcasesfiled on orafterthe date of adjustment.)
         üruo
         E Yes. Did you acquire tre property covered by ûre exemption wihin 1,215 da)rs before         you filed this case?
               Eruo
               E   Yes




Official Form 106C                                                  Schedule C: The PropeÉy You Claim æ ExemS                                                            page   f of!
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     Debtor      1                       ROBERT              E                       DEAN
                                         First Name         Middle    Name          Last Name

     Debtor2
     (Spouse, if f¡ling)                 First Name         Middle    Name          Last Name

     United States Bankruptcy Court forthe:                                  Westem Disüic{ of Virqinia

     Case number
     (if kno/ì/n)
                                                                                                                                                            E    Check if this is an
                                                                                                                                                                 amended filing


Official Form 106D
Schedule D: Greditors Who Have Glaims Secu red by Property                                                                                                                                12t15
Be as compleb and aGGUlaG as pæibþ. lf two mnierl people ae filing togeürer, boür arc eqmlly rcsponsible br supplying coEect ¡nbmat¡on.
                                                                                                                                                    lf more space is
needed' copy the Additional Page, fill it out number flre enüþs, and attach it to thb form. On ftre top of arry additionai
                                                                                                                           iág"u, *tib Vour name and cæe number (if
known).
l.   Do any      cleditols have claims securcd by your property?
         D   No. Cneck this box and submit this form to the court with your other scfredules. You have nothing else to report on th¡s form.

         úYes.       f¡U in all of the information below.

 EEtfft              List All Secured Glaims
     z    List all secued chirrs. lf a creditor has more than one seq.¡red daim, list the creditor separately for             Ølur¡mA                 ØlunnB                 ØumnC
          ead¡ daim. lf more than one creditor has a partio.rlar daim, list the other creditors in Part 2. As much
                                                                                                                              Amount of claim         Valueof colhral        Unsecurcd
          as possible, list the claims in alphabetical order according to the creditois name.
                                                                                                                              Do not deduct the       that supports          portion
                                                                                                                              value of collateral.    thbclaim              lf arry
 2.1      MR COOPER                                              tÞscdbethe                                   theclaim:                  u¡cu¡vn                   $0.m                    $0.00
          Creditofs Name
             8950 CÌpress Waters Blvd
             Number             Street
             Coppell, TX 750194620                               As   dthe   dú    yor fiþ ttc cbim is Cfeck d fid appty
          City                             Code
                                          Srate       Ztp        EContingent
                  ovues ftre deü? Check one
             llþo                                                ElUnüquidated
             MDebtorl         only
                                                                 Eo¡sPutø
             EDebtor2         onty
                                                                          oflien' cleck     all that apply'
             E   Debtor   I   and Debtor 2   on't                H:
                                                                 *ffi:ffffi:vou             made (sudt as moftgage or
             EAt                          anorher
                     bast one of t.,e debtofs and
          E CtrecL ilfrS claim lelates to a                      [Statutory       l¡en (such as tax lien, mecfraniCs lien)
            cornmunity deH
                                                                 EJudgment lien fom a lavræuit
          Dab debtrvæ incunÞd
                                                                 Eother (induding        a right to ofüer)

                                                                 I-æt 4 d¡g¡ts of account numbe¡              7 1 2   S

             Add the dollar value of your entries in Golumn A on this             paç. wdb that number hele:                                         $0.m




Official Form 106D                                                   Schedule D: Crcditorc Who Have Clairrs Securcd          ry property                                         page 1   of!
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  Debtor   1                ROBERT            E                      DEAN                                                  Case number     ø known)
                            First Name         Middle Name            Last Name



                 Additional Page                                                                                  MtmnA                    ØlunmB            ØlumnC
   EEl?Í                                                                                                          Amount of claim          lfalueof cdtrrd   Unsecurcd
                 After listing any entr¡es on this page, number thenr beginning with
                 2.3, followed bI 2.4, and so forth.                                                              Do not dedud the         that supports     portion
                                                                                                                  value of collateral.     thbchim           lf arry




                                                       Desclibefhe            thatsecurcs tlrc cbim:
      Creditois Name


      Number           Street
                                                      Asdttcd#yorfiþ tfecHm b             Cteckdhdapp}
      City                       State   ZtP Code      QContingent
      ìlVho orc      the debt? Check one.              IUnfiquidated
      EDebtor      1 onty                              EDispúed
      DDebtor2 onty                                   Naû¡le of lien. Check allthat apply
      EDebtor t and Debtor2 only                       EAn   agreement you made (sucfr as mortgage or
      EAt bast one of fe debtors and another              seq¡red car loan)

      flCtrecf f UrSclaim ¡el#stoa                     EStatutory lien (such as tax lien, mechaniCs lien)
           communþ debt                                EJudgnrent lien fom a lawsuit
      D        dehu¡æincuned                          EOther (induding a right to ofiset)

                                                      tast 4 digils of account number     _ _ _ _


      Add fhe dollar value of your enties in column A on this page.      wrib füat number      here:                                     $0.00
      lf this is the læt page of your form, add the dollar value toúals from all pages.     Wrib fñat number
      here:                                                                                                                              $0.00




Official Form l06D                           Additional Page of schedule D: Grediûos uvho Have         clairrs secured ry property                           page!oÍl
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   Debtor   1                   ROBERT                                      DEAN
                                First Name             Middle   Name       Last Name

  Debtor 2
  (Spouse, if fìling)           First Namè             Middle Name         Last Name

   United States Bankruptcy Court for the:                            Westem Distsict of Viroinia

  Case number
  (if known)
                                                                                                                                              fl   Check ¡f th¡s is an
                                                                                                                                                   amended filing


Official Form 106E/F
Schedule E/F: Greditors Who Have Unsecured Glai ms                                                                                                                           12t15
Be as compleb and accuEte as possibþ. Use Part 1 for crcditoe wifh PRIORITY claims and Part 2 fo¡ crcdiûos with NONpRIORIW clairrs. Lbt
                                                                                                                                           fhe otrer party ûo
any executoqr contracts or unexpircd leæes that could rcsult in a claim. Abo lbt execuûory confacts on Schdute NB: proprty (fficial
                                                                                                                                    Form I 06A/8) and oñ
Schdule G: Ettæuw Conú|dÉ dnd Un€xPit€d Leases (Ofñcial Form 106G). Do not include any creditors with partially securcd clairrs that a|e lisþd in Scl¡edule
D: Ct€ditotsWho Hold Claíms Sæured by Prcpefty.lf more space is needed, copy the Partyouneed, fill itor¡t, numberthe entries in the boxes on
                                                                                                                                               the þfL Attach
the Continuation Page to th¡s page. On the top of any additional pages, wrib your name and case number (if known).

 tÈtÍrl         List All of Your PRIORITY Unsecured Cta¡ns
  t                                *         uræecurcd clairrs asainstyou?
      ü 1ä "#füff
      E Yes.
  2   Listallofyottrpdotityurcecurcdclaims. lfaøeditorhasmorethanonepriorityunseureddaim,                         listtheqeditorseparatelyforeacfìdaim.Foreachclaimlisted,
      identiry what type of daim it is. f| a daim has boh priority and nonpriority amounþ list trat daim trere and show both pri'ority anO nonpnority
                                                                                                                                                      àmounts. As much as
      possible, list the daims in alphabetical order according to the credito/s name. lf you have more than two priority
                                                                                                                         unsèoleð daims, fill out the Continuation page of
      Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an eplanation of eacfr type of daim, see the instucfions forthis form in the instudion booklet.)

                                                                                                                                    bt         Priority         Nonpnority
                                                                                                                                    claim      amunt            amunt

        Priority Cred¡to/s Name                                          l-ast 4 digib of account number
                                                                         When u¡as the      deh incuned?
        Number            Street                                         As of the   d#   you fiþ, the claim b: Check all that
                                                                         apply.
                                                                         E     Contingent                    -
        City                                  State    ZIP Code
                                                                         fl    Unlquidated

        Who incur¡ed the debt? Check ørc.
                                                                         E     Disputed

        E       Debtor 1 only                                            fpe    of PRIORITY unsecurcd claim:
        E       Debtor2onty                                              E     Domestic support obligations
        E       Oebtor t and Debtor2 only                                E    Taxes and certain other debls you orræ the
        E       At bast one of tre debtors and anotrer                        govemment
        E       Cnecf ¡tür¡s chim is fora community debt                 E    Cb¡ms for death or person injury while you vrære
                                                                              intoxicated
        ls the claim sugect to offset?
        Eruo                                                             E    Other. Specifi

        E       yes




Official Form 106E/F                                              Schedule E/F: Crcditos Who Have Unsecured Glaims                                                   page    I of3
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 Debtor      I                   ROBERT                E                         DEAN                                             Case number (ff known¡
                                 First Name            Middle Name               Last Name

 EEÍÍÚj¡ List All of Your NONPR¡ORITY Unsecured Glaims

      3. Doary crcditols           have nonpriorig unsecurcd clainrsagainstyou?
         ú       No.    Yo, haræ nothing to report in this part. Submit this form to the court wiür your other scfiedules.
         E       Yes.
  4     List all of your nonprionTy unsecurcd claims in the alphabefir:al oder of ttre crcditror who hoHs each claim. lf a creditor has more than one nonpriority
        unsecured daim, list the creditor separately for each daim. For each daim listed, identiry what type of daim it is. Do not list da¡ms already induded in part 1 . lf more
        than one creditor holds a partiollar daim, list the olher creditors in Part 3. lf you have more thanthree nonpriorig unseo.rred daims fill oui the Conlinuation page of
         Parl2.
                                                                                                                                                             Ètal cla¡m
 4.
                                                                                           Låst 4 digib ofaccount     number-
           Nonpr¡ority Cred¡tofs Name
                                                                                           Whenwæ the debt incuned?
           Number                 Street                                                   Asdthe dæ you fiþ, tlp claim b: Check all that apply.
                                                                                           E     Contingent
                                                                                           E     Unliquidated
          City                                    State      ZIP Code                      E     D¡sputed

           Who incurred the debt? Check one.                                               fpe   of NONPRIORITY unsecured claim:
           E       Debtor    I   only                                                      D    Sh¡dentloans
           E       Debtor2 only                                                            E    Obligations arising out of a separation agreement or
                                                                                                divorce that you did not report as priority daims
           E       Debtorl and Debtor2only
           E       At þast one of tre debtors and anotrer
                                                                                           E    Oebts to pension or profit-sharing plans, and other
                                                                                                s¡m¡lar debts
           E       Ctrect i¡U¡S chim b fora community debt                                 Q    ofr"r.   Specifi-
          ls the claim subject to          ofüet?
           Eruo
           D       Yes




Official Form 106E/F                                                    Schedule E/F: Creditoe Who Have Unsecured Claims                                                  page 2 of3
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 Debtor    1           ROBERT                  E                       DEAN
                                                                                                                      Case number l,f known)
                       First   Name            Middle   Name            Last Name

 Etr¿T         Add the Amounts for Each Type of Unsecu¡ed Gtain

  6.   Toûal the amounts of Gêftain types of ufisecurcd     chirrs. Thb infionrlation is fur statilical reporting purpæes only 2g u.s.c.
       type of unsecurcd claim.                                                                                                            $15g. Add the amounts for each




                                                                                                  Toúal   chim

                     6a. Domestic support obligations                                  6a.                                $.m
  Túlclaims
  ftom Part    1
                     6b. Taxes and certain oüre¡ debts you ouæ ttre                    6b.                                $0.00
                           govemment

                     6c. Ghinæ fur    dedr   or persornl injury wtrile you             6c.                               $0.00
                           uêre ¡ntoxicabd

                     6d.   O$er. Add all other priority unsecurcd daims.               6d.   +                           $0.00
                               hat amount here.
                           Write


                     6e. Total. Add lines 6a through 6d.                               6e.
                                                                                                                           $0.00




                                                                                                  Toúal claim


                    6f. Sh¡dent    loans                                               6f.                               $0.00
  ToÉal   claims
  from PaÉ2
                    69. Obligations arbing oú of a separat¡on                          6g                                $0.00
                        agreement or d¡vorce thatyou did not rcport          æ
                        priority chims

                    6h. tÞbûs to pension or profiteharing plans, and                   6h.                               $0.00
                           orfhersimilardeG

                    6i. Other. Add all other nonpriority unseo-¡rcd daims.             6i.   +                           $0.00
                        \Mite hat amount here.

                    6j. Toúal. Add lines 6f through 6i.                                6j
                                                                                                                           $0.æ




Ofrcial Form 106EÆ                                             Schedule E/F: Crcditoe Who Have Unsecu¡ed Claims                                               page 3 of3
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      Debtor      I                  ROBERT                                   DEAN
                                     F¡rst Name            Middle Name        Last Name

      Debtor2
      (Spouse, if filing)            First Name            M¡ddle Name        Last Name

      United States Bankruptcy Courl forthe:                             Westem Dbtuic{

      Case number
      (if knom)
                                                                                                                                                 E   Cnecf if this is an
                                                                                                                                                     amended filing


Official Form 106G
Schedule G: Executory Gontracts and Unexpired Leases                                                                                                                         12t15
Be as compleb and accuraÞ as pæsible. lf tulo manied people ae filing togetrer, boür are equally rcsponsible
                                                                                                               Íor supplying conect information. lf more space b
needed, copy the additional paç, fill it out number the enûies' and attach ¡t to thb paç. On the top of
                                                                                                        any additionat paþ-, wrb your narne and cæe n,rmne,                        1it
known).

 I    .    Do    yor have   arry executory conhac{s or unexpired     l€ses?
           úruo' cnect tnis box and file this form witr the court with your other scfredules. You have nothing else to report on this form.
           D Yes. F¡ll in all of the information below even if the contrads or leases are listed on Schedute A/B: prcperfy (Ofüciat Form 1 06A/8).
2.        List separately each person or compary with whorn you have the cont¡act or þæe. Then stab vyhat each
                                                                                                                        contact or lease b br (fun emmple, rcnt,
          vehicle leæe, cell phone). See the ¡nsfudions forthis form in the ¡nstrudion booklet for more examples of executory contrads
                                                                                                                                       and unelp¡red leases.



          Peson or conrpary with whom you have the confuac{ or lease                               Stabwhatthe conbacto¡ læe b for
2.1

           Name

           Number           Street

          City                                    Sbte    ZIP Code

2.2

          Narne


          Number        Street

          City                                    State   ZIP Code

2.3

          Mrne

          Number        Street

          City                                    State   ZIP Code

2.4

          Narne


          Number        Street

          City                                    State   ZIP Code




Offcial Form 106G                                                    Scheduþ G: Erecutory Contacts and Unexpircd l_eæês                                                page 1 of   1
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 tiltffi
     Debtor      1                       ROBERT                  E                      DEAN
                                        First Name              Middle   Name           Last Name

     Debtor2
     (Spouse, if filing)                First Name              M¡ddle   Name           Last Name

     United States Bankruptcy Court for the:                                     llVestem District of Virqinia

     Case number                                                                                                                                                   E     Cneck ¡f this is an
     (if known)                                                                                                                                                          amended fling


Official Form 106H
Schedule H: Your Godebtors                                                                                                                                                                          12t15
Codebtos arc people or entities wtro arê abo l¡abþ br arry deh you may have. Be as compleúe and accuraÞ æ pcs¡bþ. lf tr¡vo rnnied people arc filing togEüter;
boü arê equally ræponsible Íor supplying conect information. !f more space is rreded, copy the Additional Page, fill it ou! and numberthe entþs in üre boxes on
the lefl Atfach tfie Additiornl Page to thb page. On the top of any Additional Pages, rrvrib your name and æe number (if known). Answr every qræstion.

 1   .   D,o    you have any          codehrs?   (lf you are f ling a joint case, do not list either spouse as a codebtor.)

         Úruo
         EYes
 2.      Vllithin the læt 8 yeaÉ, have you ¡ived ¡n a community property staÞ o¡ tefübry? (Ønnnunity                      proprty shtes and tenitories indude Arizona, Califomia, ldaho,
         Louisiana, Nevada, New Mexico, Puerto R¡co, Texas, Washington, and \Msconsin.)
         úNo. co to tine 3.
         [Yes. Did your spouse, furmer               spouse, or legal equivalent live with you at the time?
                Et¡o
                EYes.       ln lvtrich community state ortenitory dirl you live?                                          Fill in   tle name and cunent address        of that person.


                     Name


                     Number           Street


                     City                                   State     ZIP Code

 3. lnGolumnl, listallofyorcodeHos.Donotirrcludeyourspor¡seæacodetrorifyourspor¡sebfilingwithyou.Listttæpesonshowninline2againasa
         codeüor only if tflat person b a guarantor or cæigner. Make sure you have Iisftd the cedibr on Scl¡edule D (Ofñcial Form 106D), ScfredrÆ E/F (Ofñcial
         Form í(}6E/F), or Sctteúte G (Official Form l06G). tlse Scåedule D, ScHule HF, orscåeduþ Gto fill or¡t Column 2.

         Oo/u¡rn      l.-   Your   codebtor                                        -.                                         Øtrm       2:   Tle credbr     to wfiom you orre the debt
                                                                                                                                Check all scfpdules that apply:

                                                                                                                                    DSctre¿ule D, line
         Name
                                                                                                                                    flscfre¿ule EF,   l¡ne

         Number              Street                                                                                                 Eschedute G, tine

         City                                        State     ZIP Code
                                                                                                                                                         -




Official Form 106H                                                                         Schedule H: Your Codebtorc                                                                          page'1 of   1
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      Debtor     I                ROBERT                     E                       TEAN
                                  First Name                 Middle   Name           Last Name

      Debtor2
      (Spouse, if fil¡ng)         F¡rst Name                 M¡ddle   Name           Last Name
                                                                                                                                                  Check if this is:
      United States Bankruptcy Court forthe:                                 Westem D¡sto¡ct                                                       [An     amended filing

      Case number                                                                                                                                  EA     supplement showing postpetition
      (if knoivn)                                                                                                                                       cñapter 1 3 income as of the follcnrving date:


                                                                                                                                                        MM / DD /YYYY

 Official Form                  1061
 Schedule l: Your ¡ncome                                                                                                                                                                    12t15
 Be as compleûe and accuaûe as possible. lf two manied peopÞ are filing together (Ilebtor
                                                                                            I and Debtor 2), both are equally responsible for supplying conect
 information. lf you ar€ manied and not filing joinüy, and yourspouse b living with you, include
                                                                                                 information aboutyour spouse. lf you arc separabd and your
 spouse is notfiling with you, do not include infiormation aboutyourspourse. lf moespace is needed,
                                                                                                       attach a separab sheet to this form. On the top of any
 additional pages, rmib your name and case number (if knøtrn), Ansnver wery question.


  ÍiEtrE             Describe Employment

  1.     Fill inyouremploynrent
         info¡mation.                                                                             Debtor   1                                           Debtor 2 or non-filing spouse

         lf   you haræ more than one job,           Employmentsúaüs                       tremprqæo úruoterpoy"o                                trempqBo flnotempoyø
        athch a separate page with
        informaüon aboul additional                 Occupation
        employers.

        lndude part time, seasonal, or              Emplqrel,s nanre
        self+mployed rrvork.
                                                    Employefs addrcss
        Ocanpation may indude student                                                      Number Street                                        Number
        or homemaker, if it applies.




                                                                                           C¡ty                         State   Zip Code        C¡ty                      State      Zip Code
                                                   How lorg employed          here?


  EãIN               Give Details About     tontlrly ¡ncome

        Est¡mab monthlyr incorre as of fhe date you file              his furm.   lf you haræ nothing to report for any line, write $0 in the space. lndude your
                                                                                                                                                                 non-f ling spouse unless you
        are separated.
        lf you oryour norrfiling spouse have more than ore employer, combine
                                                                             tre infurmation for all employers for that person on the lines below. lf you need more space,
        attach a separate sheet to this form.


                                                                                                                           For Debtor   I   For Debtor 2 o¡
                                                                                                                                            non-fi1¡ng spouse

 2.    List monthly græ urageq sahry ard commbsions (before all payroll
       dedudions.) lf rot paid monthly, calqrlate what the monthly wage rivould be.                            2.                s0m                         mm
 3.    Es{im# and list monürly oveilime pay                                                                    3.   +            s0.00      +                sfì fxl

 4.    Galcul# græ incoræ. Add line            2 + l¡ne 3.                                                     4.                so   rn                     $0.00




Official Form l06l
                                                                                          Schedule l: Your lncome                                                                         page   1
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 Debtor     1               ROBERT                E                            DEAN                                                      Casenumæl 0f known)
                            First Name            M¡ddle Name                   Last Name


                                                                                                                            For Debtor   I       For   lþbtor   2   or
                                                                                                                                                 non-filing spouse
          Copy line4herc                                               .................   Ð                  4.                  s0-00                             $0.00
 5.       Lbtall payroll deduct¡qs:
          54. Tax,   ltledhae, and Social Security deductiors                                                 5a.                 $0.00                             $0.00
          5b. Mandatory      contibrfions for retirement plans                                                5b.                 $0.00                             s0.00
          5c. Voluntary     confibrfions   ûor retirement plans                                               5c.                 $0.00                             s0.00
          5d. Requircd æpayments of retirement fu nd        læns                                              5d.                 $0.00                             $0.00
          5e-   lnsuance                                                                                      5e.                 $0.00                             $0.00
          5f. Domestic suppoÉ obligations                                                                     5f.                 s0.00                             $0.00
          59- Union dues                                                                                      5g                  s0,00                             $0.00

          5h.   Oûer deductions. Speciff:                                                                     5,h.   +            s0.00          +                  s0.00

 6.       Add tfie payroll deductions. Add Ínssa      + 5b + 5b+ 5d + 5e +5f + 59 + 5h.                       6.                  $o.00                             $0-00
 7.       Calcutr     toúal monthly   take+ome pay. Subbact line 6 from line 4.                               7.                  $0.00                             $0.00
 L        Listall dprincome eguhdy æceived:
          8a. Net incor¡re from rcntal property and from operating a br.rsiness,
                proftssion, orfarm
                Attacñ a statement for each property and business showing gross receipts,
                ordinary and necessary business epenses, and the tohl monhly net inconre.
                                                                                                              8a.                 $0.00                             s0.00
          8b. lnþrcstand d¡v¡dênds
                                                                                                              8b.                 $0.00                             $0.00
          8c. Family support payments thatyou, a non$ling spor.rse, or a dependent
              rcguhdyrcceive
                lndude alimony, spousal support, cfrild support, maintenance, divorce
                setüement, and property setüement.
                                                                                                              8c.                 $0m                               $0.00
          8d. Unemployment comperæation
                                                                                                              8d.                 s0.m                              $0.00
          8e. SochlSecudg
                                                                                                              8e.                 s0.m                              $0.00
          8f. Otfcr gwemment assisbnce that yol rcgularly reæive
                lndude cash assistance and the value (ifknown) ofarry non-cash assistance
                that you recei'ue, such as fuod stamps (benefts under the Supplemental
                Nutrition Assistance Program) or housing subsidies.
                Q-..ißr.

          89. Pension or rctilernent inco¡ne                                                                  8f.                 s0.00                             $0.00
                                                                                                              89.                 s0.00                             $0.00
          8h. Oüpr monthly irrcome. Speciff
                                                                                                              th.    +            $0.æ           +                  $0.00


 9.       Add all oüe¡ income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +89 + th.                                9.                  s0.m                              $0.00

 10. Calcul#        monthly income. Add line 7 + l¡ne 9.
          Add the entries in line 10 for Debtor I and Debtor 2 or non-filing spouse                           10.                 $0.00      +                      $0.m                    so.m

 11   .   Staþ all other rcgular contib¡fions to the expenses that you |bt in Scåeduþ J.
          lndude conûibt¡lions from an unmanied parher, rnembers of your household, your dependents, your oommates, and other
          friends or relatives.
          Do not indude ar¡r annunts already induded in lines 2-10 or amounts hat are not available to pay epenses listed in Scúeduþ J.

          Sæcrff:                                                                                                                                                        11.+             $0.00
 12. Addtheamountinthelætcolumnoflinel0totlreamountinlinell.Theresultisthecombinedmonthlyincone.t¡!ätethat
          arnount on the Sumnrary of Your     Aæß atú    Liabilities and C.etuin           Sþtid*nl l¡¡fomatiø, if it applies                                            12.               mffì
                                                                                                                                                                                Combined
                                                                                                                                                                                monüly incorne
 13.      Do you expect an increase or decreæe within tlæ year        afur you file fhb funr?
          úr.¡o.
          flYes. E¡plain:

Official Form 1061                                                                           Sclpdule l: Your lncome                                                                       page 2
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   Debtor    1                 ROBERT              E                  DEAN
                               First Name          Middle Name        Last Name
                                                                                                                Check if this is:
   Debtor 2
   (Spouse, if filing)
                                                                                                                [An       amended filing
                               First Name         M¡ddle   Name      Last Name
                                                                                                                EA    supplement showing postpetition
   United Sbtes Bankruptcy Court forthe:                         Westem Dlçtoict of                                cfiapter 13 income as of ttre follorruing date:

   Case number
   (Íf kno/vn)                                                                                                     MM / DD /YYYY



 Official Form 106J
 Schedule J: Your Expenses                                                                                                                                             12t15
 Be as compleb and accu¡ab as pæible. lf two maried people ale filing togeürer, boûr ale
                                                                                              equally rcsponsible úor supplying conect inûormation, lf more spacæ         b
 needed' attach anoürcr sheet to this form. On the top of any additional pages, write
                                                                                      Vour narne and cæe number(if knorn). Answerevery quest¡on.

  Etrf           Describe Your Household
  1.    lsthisajointcase?

        úruo. co to tine 2.
        Eyes.     Ooes Debúor 2 live ¡n a separate household?
                    Etto
                   EYes. Debtor 2 must file Official Form 106J-2, Expenses tor Separate Houæho¿ of Deblor 2.
  2. Doyouhanedependents?                       úruo
       DonotlistDebtorl        and              Dyes.Fiiloutth:,.::-:1"".,^                                                 Dependenfs
                                                        **n'                      ffffiff::"fff:ir,r"                       age
                                                                                                                                                 Does dependent live
                                                                                                                                                withyou?
       Do not state the dependents,   narnea. ""*
                                                                                                                                                  Euo.     Eves.

                                                                                                                                                  [No.     f,ves.
                                                                                                                                                  Eruo. Eves.
                                                                                                                                                  Qt¡o. Eyes.
                                                                                                                                                 ot¡o.     Dyes.
 3.    Doyoure:çensesinclr¡dee¡çerrses          úno
       of peode oürerfhan youself and
       yourdependents?                          Eves


 EEtrr, Estimate Your Ongoing ilonthly Expênses
 Estimúyour expenses æ of your bankrupúcy filing dæ unlessyou ale usirgthbform æ a supplenþnt ¡n
                                                                                                               a Chapûer i3 cæe b rcport expenses as of a dab           afur
 the bankru@y b filed. lf thb b a suppbmental Scfiedufe J, check tfre box at the top of the form
                                                                                                 and fill in the applicable dab.

 lnclude expenses paid for with non-cæh g,wemrrent assisúance if you know ttre vah¡e
                                                                                      of
 such æsistance and have included it on scñedute L. your tnwne (official Form I (r1.)                                                      Yourexpenses

 4.    Tlp ental or honre ovvneship experses br your ¡esklenoe. lndude     first mortgage payments and any rent fur the
       ground or lot.                                                                                                          4.


       lf not included in line 4:

       4a. Real estate taxes                                                                                                   4a.
                                                                                                                                                            $0.00
       4b. Propert¡¿ homeowne/s, or renteds insurance                                                                          4b.
                                                                                                                                                            $0.00
       4c. Horne maintenance, repai¡ and upkeep erpenses                                                                       4c.
                                                                                                                                                            $0.00
      4d. Homeowne/s association or oondominium dues                                                                           4d.
                                                                                                                                                            $0.00




Offcial Form 106J                                                            Scheduþ J: Your Expenses                                                                  page   1
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  Debtor     1            ROBERT                    E                      DEAN                                    Case number   ¡rT   known¡
                          First Name                Middle Name              Last Name


                                                                                                                                        Yourexpenses

  5.     Additional morþage paymenb Íoryour rss¡denoe, such as home equity roans
                                                                                                                         5.

  6.     Utilities:
         6a. ElecÍric¡ty, heat, natural gas
                                                                                                                        6a.                             $0.00
         6b. Water, seuær, garbage colledion
                                                                                                                        6b.                             $0.00
         6c. Telephore, cell phone, lntemet, satellite, and cable services
                                                                                                                        6c.                             $0.m
         6d. Other. Speciff:
                                                                                                                        6d.                             $0.00
  7.     Foodandhousekeepingsupplies
                                                                                                                        7.                              $0.00
  8.     Childcarc and childen's educat¡on co6ts
                                                                                                                        8.                              $0.00
  9.     Clothing, laundry and dry cleanirg
                                                                                                                        9.                              $0.00
  10.    Personal care prcducts and seryices
                                                                                                                        10.                             $0.00
  11.    lllledical and dental expenses
                                                                                                                        11.                             $0.00
  12. Transporffiion.       lndude gas, maintenance, bus or tra¡n fare.
         Do not ¡ndude car payments.                                                                                    12.                             $0.00

  13.   EnbÉainment, clubs, Þcreat¡on, newspapes, rnagazineg and books
                                                                                                                        13.                            $0.00
  14. Charitabb contribrfions          and religious donat¡oris                                                         14.                            $0.00
  15.   lnsurance.
        Do not indrde insurance deduded from your pay or induded in line.s 4 or 20.

        15a. Life insurance                                                                                                                            $0.00
                                                                                                                        15a.
        15b. Health insurance                                                                                           15b.                           $0.00
        15c. Vehide insurance                                                                                                                          $0.m
                                                                                                                        l5c.
        1   5d. Otfer insurance. Specif:                                                                                15d.                           $0.00

  16. Taæ        Do not indude taxes deducted from your pay or indtrded in lines 4 or 20.
        Sæcit:                                                                                                          16.                            $0.00

  17. lnstallmentorleæepryments:
        17a. Car paynents forVehide          I                                                                          17a.
                                                                                                                        17b.
        17b. Car payments      forvehide 2
                                                                                                                        17c.
        17c. Other. Speciff:
                                                                                                                        17d.
        17d. Otler. Speciff:

 18.    Your payments of alimony maintenance, and support that yor did not report as deducted
        frornyorrpay on lineg Schedule l,yourlnwtre(O,fficial Form 106l).                                              18.                             $0.00
 19. Oüer        payrænts you make      úo   support oürers wtro do not live with you.
        sæoû:                                                                                                          19.                             $0.00

 20.    Other rcal property expenses not included in lines 4 or 5 of tñb form or on Scfieduþ I: your
                                                                                                     tncon     e
        20a. Mortgages on other property
                                                                                                                       2c€'.                           $0.00
        20b. Real estate taxes
                                                                                                                       20b..                           $0.00
        20c. Properly, homeowner,s, or renteis ¡nsurance
                                                                                                                       2Oc.                            s0.m
        20d. Maintenance, repair, and upkeep epenses
                                                                                                                       20d'.                           $0.00
        20e. Homeor¡vne/s association or condominium dæs
                                                                                                                       2ct-.                           $0.00



Official Form 106J                                                                  Scheduþ J: You¡ Experses                                                    page 2
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  Debtor   1              ROBERT                 E                           DEAN                                   Case number l,Tkrown,
                          First Name             Middle Name                  Last Name



  21.   omer.Sæc¡û:                                                                                                       21.     +               $0.00

  22. fuulabyourmonürlyexpenses.
        22a.   Nd
                          -
                    lines 4 through 21.                                                                                   22a.                    $0.00
        22b.Copyline22 (monthlyepensesforDebtor2),             if any,   ftom Official Form j06J_2                        2b.                     $0.00
        22c. Add line 22a arñ   2b.    The resull is your monthly epenses.
                                                                                                                          22c.                    $0.00


  23. Galcul#yourmonthfnet¡ncome.
        23a. Copy line 12 (yourcombined morÍhly income) from Scúeduþ             /.                                       2h.                     s0.00

        23b. Copy your monhly eperses ûom line 22c above.                                                                m.                       $0.00
        23c. Subhad your monthly eryenses from your monthly incone.

               The result is your nnnhly   netinøne.                                                                      23c.                    $0.00




  24.   Do yott expect an incrcæe or decreæe in your expenses wilhin tfie year            afur you file thb form?
        For example, do you eùped to finbh paying for your car loan within the year or do you e4ed your
        mortgage payment to ¡ncrease or decrease because of a modification to the terms of your mortgage?

        ú¡lo.          None
        Iyes.




Official Form 106J                                                                    Scheduþ J: Your Expenses                                            page 3
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 tLfir¡ßrrf@
  Debtor          1                  ROBERT                        E                        DEAN
                                    First Name                    M¡ddle   Name             Last Name

  Debtor 2
  (Spouse, if f¡l¡ng)               F¡rst Name                    Middle Name               Last Name

  United States Bankruptcy Court for the:                                             Westem Disûic{ of V¡rE¡nia

  Case number                                                                                                                                                        E     Check if this is an
  (if known)                                                                                                                                                               amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Gertain Statistical
lnformation                                                                                                                                                                                           12t15
Be as complete and accurab as possible. lf two manied people ale filing togeÛrer, both are equally resporsible ûor supplying conect infomation. Fill or¡1 all of your
schedules fist; then complete the information on this form. lf you arc filing amended schedules after you file your original forns, you must fill out a new Sumnary
and check the box at thê top of th¡s page.


 EãTTE Summarize Your Assets


                                                                                                                                                                            Youræseús
                                                                                                                                                                            \álue ofwhatyou oan

  1   .   Schdule A/B: Hqeûy (Ofñøal Form 1064/8)
          1   a. Copy line 55, Total real estate,   fom    SdæduÞ A/ts....                                                                                                                     $134,807.00


          1   b. Copy line 62, Total personal property,     fiom Sd:cduÞ AtB.                                                                                                                        $0.00

          1c. Copy line 63, Total of all property on       Scfpduþ                                                                                                                             $134.807.00



 Z7ITOT Summarize Your                       Liabilities


                                                                                                                                                                            Your liabilifies
                                                                                                                                                                            Arnotjnûyou or,!e

 2. Schedule D: CrcdilorslØto Have Claims Secu¡ed by Property (OÎñcial Form 106D)
          2a. Copy the totalyou listed in Column A,         Anpmtof dan              at the bottom of the last page of Pad 1 of Scfieduþ D.......                                                    $0.00

  3. Sdtedule          ffi:   Oeditotswho Have Unwured Claims (Ofñcial Form 106E/Ð
          3a. Copy the total daims      fom Part     1 (priorig unsecurcd daims) from line           b   oÍ Sdrcdde EtF.                                                                             s0.00


          3b. Copy the total daims from Part 2 (nonpriority unseorred daims) from line 6j of Scfredu/e úF.................................                                   +                       s0.00


                                                                                                                                                    Yourtotal lhb¡lities                             $0.00

 ÈtÍ*Ì                Summarize Your Income and Expenses

 4. SdtedÛle l: Your hwme (Offrcial Form                  1061)

          Copy your combined monthly incorne           fom line 12 oÍ SrfleduÞ l.                                                                                                                    $0.00


 5.       ScfieduþJ: YourExpenses(Official Form 106J)
          Copy your monthly epenses         fom     ltur- 22c   ol Sctrcdute J....                                                                                                                   $0.00




Official Form l06Sum                                                    Summary of Your Assets and Liabilitþs and Certain Statistical lnformation                                                 page 1 of2
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  Debtor       1
                                                                                                                                   Case number ¡rTknown)
                            First Name            Middle Name               Last Name



  }IIEúIA Answer These Questions for Administrat¡ye and statistical Records


  6.   Ae you filing for bankru@y under Chapters 7,11, or         13?
       fl    No. You have noth¡ng to report on this part of the form. Check this box and submit   thas   form to the court with your other schedules.
       ú v""
  7. What kind of debt do you have?
       Ú     Yourdeharcprimadlyconsunrerdebts. Øngtmer&ßarethose"inq¡nedbyanindivirlual primarilyforapersonal,
             family, or household purpose." 11 U.S.C. S 101(8). F¡ll out l¡nes &9g for statisticat purposes.
                                                                                                             2g U.S.C. g 1s9.
       E     Yor.'¡rdeb arc r}ot primrily consumer debts. Ycu have nothirg to report on ûris paft of the form. Check his box and submit
             this furm to tlle court wiûr your other schedules.



 8- From the Súaifenænf of Ywr Cunent Monthty lncane. Copy your total cunent               rþnthly income from Offcial
    Form 122A-1 Line 11; OR, Fo¡m 1228 Line 11; OR, Form 122C_1 Line 14.
                                                                                                                                                                     $0.00




 9. Gopy the following spec¡al       ca@ories of chirrs from part d line 6 of schedule E/F:



                                                                                                                               Túlclaim

            Frcm Part 4 on Scheduþ E/F, copy the following:


        9a. Domestic support obligations (Copy line 6a.)
                                                                                                                                                  m00

        9b. Taxes and certa¡n other debts you ovw the goræmment. (Copy line 6b.)
                                                                                                                                                  s0.m


        9c. claims fordeath or personar injurywhire you urere ¡ntoxicated. (copy rine 6c.)
                                                                                                                                                  s0 rx)


        9d. Student loans. (Copy line 6f.)
                                                                                                                                                  $0.00


        fb.Obligations arising out of a separation agreenent or divorce that you did not report as priority
                                                                                                                                                  s0 ofl
           daims. (Copy line 69.)



        9f' Debts to pension or profit-sharing plans, and other similar debts, (copy line 6h.)
                                                                                                                           +                     $0.00


       99. Total. Add lines 9a through gf.
                                                                                                                                                 s0fn




Official Form 106Sum                                       sumrnry of YourAssefs and Liabilifþs and Gerhín statistical lnúonnation                                  page2 o12
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  Debtor   I                 ROBERT            E                  IEAN
                           First Name          Middle Name       Last Name

  Debtor2
  (Spouse, if fil¡ng)      F¡rst Name          Middle   Name     Last Name

  United Sbtes Bankruptcy Court forthe:                       Westem            of Virqinia

  Case number                                                                                                                        E   Checf   ¡f th¡s ¡s   an
  (if kno,vn)
                                                                                                                                         amended filing


Official Form 106Dec
Declaration About an Individual Debto/s Schedules                                                                                                                  12t15
lf two manied people are filing together, both are eqmlly rcsponsible forsupply¡ng       coí€ct infonnation.

You mt¡st file this form whenever you file bankruptcy schedules or amended schedules. Making a false stabmen! coneæalinS property, or obtaining money or
property by fraud in connection with a bankru@y case can rcsult in fines up to $250,000, or ¡mprisonment for up to 20
years, or bdr. l8 U.S.C. SS 152, 1341, l51g ard 3571.




                Sign Below


   Did you pry or agrce to pry sorreone wtro   b Nor an fronrey to help you fill out bankrupby forns?

   úr.¡o
   EYes. Name of        person                                                       .   Aftaù Banlcupby Pefrlion Prcparcls Notiæ, Dectaratjon, and Sþnatwe
                                                                                         (Official   Fom   119).




   Under penalty of pef ury I declare tfiat I tmre read the sumrmry and schedules filed with thb dechration and that they ae    tue and con€ct




    x             f-,I^/ ¿ a*
        ROBERT E DEAN, Debtor      1                                x
        Dai.e æf27D019                                                   Date
                 MM/ DD/   YYYY                                                  MM/ DD/         YYYY




Official Form 106Dec                                      Declaration About an lnd¡v¡dual Debto/s Schedules
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   Debtor     I                 ROBERT                                         DEAN
                               First Name               M¡ddle   Name         Last Name

   Debtor2
   (Spouse, if filing)         First Name               M¡ddle Name           Last Name

   United Slates Bankruptcy Court for the:                              Westem Distict of Viminia

   Case number
   (if knorn)
                                                                                                                                             E   Check if this is an
                                                                                                                                                 amended filing


Official Form 107
Statement of Financial Affairs for lndivid uals Filing for Bankruptcy                                                                                                        o4t't9
Be as compleb and accurab as pæsible. lf two manied people arc filing togeürer, bo'úr ae eqully r€sponsibþ
                                                                                                            for supplying correct inbrmation. lf mo1g space                     b
needed, aûiach a separate sheet to thb form. On the top of ary additional pages, wriÞ your name and case number (if
                                                                                                                    fnortn). Ansrrær every question.




 Etlfft           Give Details About Your Marital Status and Where you Lived Before

  l. What b your cunent ma¡ital stah¡s?
     E      Manled

     ú      ruot manied


  2. Dudrg the læt 3 years,       lnve you liræd arryvrhere dær than wtrere you live nor/?

     M     ¡¡o

     E     Yes. Líst all of the places you lived in the last 3 years. Do not ¡ndude wfrere you lir¡e norru.

      tþbûorl:                                                      Datestþhorl       lived      Debtor2:                                          I)#s   Debtor2lived
                                                                    thele                                                                         tñele

                                                                                               E S"."     as Debtor     1
                                                                                                                                                 E    S"r"   as Debtor   1


                                                                  From                                                                           From
     Number         Street                                                                         Number      Street
                                                                  To                                                                             To



    City                                 State ZIP Code                                            City                     State ZIP Code



                                                                                               E   S"re
                                                                                                          ""
                                                                                                               Debtor   1                        D    S"me as Debtor     1


                                                                  From-                                                                          From
    Number         Street                                                                          Number      Street
                                                                  To                                                                             To



    City                                 State ZIP Code                                            C¡ty                     State ZIP Code




  3' u$ithin the last 8 yeas, did you ever live with a sporæe or lega! equivaþnt in a community property
                                                                                                         staþ or bÍib|ly          ?(Øntnunity proprlysfafes and fe¡rdonbs
  indude fuizona, Califomia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washiñgton,
                                                                                                    anã wsconsin.¡
    ú      r.¡o

    D      Yes. Make sure you filt   out Súedute H: your QrJr;btos(Offi cial Form 1 06H).


Ofñcial Form 107                                          Staûer¡ent of Financial Affails for lndividuals Filing fior Bankrupby
                                                                                                                                                                             page   I
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 Debtor   I              ROBERT                   E                         DEAN                                               Case number Itknown)
                         F¡rst   Name             Middle Name               Last Name
   ziIÍET Explain the Sources of your lncome

   4' Did yot have any       incorc frrom employrrent or from operating a business during ttris year or the tvyo previor¡s calendar         yeas?
   Fill in the total amount of income you receivd from alljobsand all businesses, indridiñg part-üme
                                                                                                        activities.
   lf you are filing a joint case and you have incone that you ææive together, list
                                                                                    ii onty onå'under Debtor    I   .


      MNo
      D   Yes. Fill in   tle   details.

                                                             tÞbtor   I                                                  Debtor 2
                                                             Sources of income          Græs lncome                      Sor¡rces of irrcorre       Græslncome
                                                             Check all trat appl¡r      (bebre deductiors and            Check allthat apply        (before deductions and
                                                                                        exdusions)                                                  exclusions)


     From      Janury I    of    cuíent year until the      E   Wages, commissions,                                     E   Wages, commissions.
     d#       you filed for bankrupúcy:                         bonuses, tips                                               bonuses, tips
                                                            EOperating a business                                       DOperat¡ng a business

     For lastcalendaryear:                                  E   wages, commissions,                                     E   Wages, commissions,
     (January     1   to December3l,      æ18      )
                                                                bonuses, tips                                               bonuses, tips
                                                            DOperating a business                                       IOperating a business

     For the calendar year before          that             D   Wages, commissions,                                     E   Wages, commissions,
     (January     1   to December3l,                            bonuses, tips                                               bonuses, tips
                                          %)                QOperating a business                                       QOperating a business



   5. Did you rcceive any oürer irrcome during           thb year or the two pevious calerdar yeas?

   payments; psnsions; rental income; interest; div¡dends; money^colleded tom
                                                                              lawwits; royalties; ano gamnting and lottery winn¡ngs. lf you aæ filing a joint case and you
   have incone hat you received together, list it only once under Debtor 1.

     ú    t'¡o

     D    Yes. F¡ll in the details.

                                                            Debtor    I                                                 Debtor 2
                                                            Sources of income           Græ   incomefromeach            Sources of income           Græ lnconreftom each
                                                            Describe below.             sounce                                                      sou¡ce
                                                                                                                        Describe belou¡.
                                                                                        (before dedudiors ard                                       (before deductions and
                                                                                        exdusions)                                                  exdusions)

     Frcm January I of cunent year until tñe
     d#  you filed úo¡ bankruÉcy:




    For læt calendaryear:
    (January 1 to December3't,
                                          +#

    For the calendar year beúorc thaE
    (January 1 to      December3r,...%)



Official Form 107                                          Staþment of Financial Afiails for lndividuals Filing for Bankrupúcy
                                                                                                                                                                             page 2
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 Debtor       I             ROBERT                     E                          DEAN                                                      Caæ,numþJl 0f known)
                            F¡rst Name                 Middle Name                 Last Name
  lrElZ[I List Gertain Payments                        You Made Before you Filed for Bankruptcy

   6.   AteeitherDebrI's orlþbbr?s deG primarily consunærdeß?

        Dtt¡o.       l'leither DeHor 1 nor tlebtor 2 has primrily coGumer debts.                  c.txtsmerdebíafe defirEd in 11 u.s.c. s r0r(g) as,,incuned by an
                     individual primarily for a personal, family, or household purpose."
                     During the g0 days before you filed for bankruptcy, dirl you pay any creditor a total of
                                                                                                              $6,825* or rnore?
                      ENo.      Go to l¡ne 7.

                      DVes.        List beloru eacfr creditor to lvhom you paid a total of g6,g25" or more in one or more paymenb
                                                                                                                                  and the total amount you paid ürat
                                   creditor. Do not ¡ndude paymenb fur dornestic support obligations, sucfr as cfiild suplcort and
                                                                                                                                   al6on¡¡ Also, do nót indude
                                   payrnents to an attomey brthis bankuptcy case.
                     *
                          Subjed to adjustrn ertt on   4101 f22 and   every 3 ¡æars after that for cases filed on or after the date of   a jusûnent.

        úy"r.        fÞbtor I or Detror         2 or boüt have   prirnrily consumer       deb.
                     During     he 90 days before you filed for bankruptcy, did you pay any oeditor a totial of 9600 or more?

                     úNo.       Go to tine 7.

                     D Yes'        List below each creditor to whom you paid a total of $600 or more and tlle totial amount you paid
                                                                                                                                     that creditor. Do not indr¡de
                                   paymenß for domestic support obligations, sucfr as cfrild support and alimony. Also, do
                                                                                                                             not indude payments to an attorney fur
                                   this bankruptcy case.

                                                                            Ilates of             Total amount     pa¡d         Amountyou still        owe    Was th¡s payment Íor,
                                                                            Fyrænt

                                                                                                                                                             IMortgage
                   Creditor's Name                                                                                                                           Ecar
                                                                                                                                                             [CreOit   carO
                   Number         Street
                                                                                                                                                             flLoan repayment
                                                                                                                                                             [supplieæ orvendors
                                                                                                                                                             flottrer-
                   City                         State      ZIP Code




  J'    lr-tnn t y€r       b€úore you filed     for bankruptcy did you mke a payment m a deh you oled anyorÞ urho wæ an inside¡..,

  offcer, diredor, person ¡n ænbol, or owner of 20% or more of their voting seorities; and any managing
                                                                                                              agent, induding one for a business you operate as a sole
  proprietor. 11 U.S.C. $ 101. lndude payments for dornestic support obligations,
                                                                                  sucùr as cfr¡t¿ supæ-rt aîrO ä¡mony.

        Mtlo
        EYes.     List all payrnents to an insider.

                                                                       Dabof                   Totalamount    paid     Arrcuntyou stillorve Reason forthb pryment
                                                                       payrrÞnt



       lnsider's Name


       Number        Street




       C¡ty                            State      ZIP Code




Offidal Form 107                                               Stabment of Financial Afiais fior lnd¡viduals Filing for Bankru@y                                                      page 3
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Debtor   1              ROBERT                   E                           DEAN                                                 Case number (if known)
                        First Name               Middle Name                 Last Name



          I year befiore you filed for bankrufty did you rrake any payments or tansfer any property on account of a
 8. lM¡thin                                                                                                                               (þh   ttlat benefibd an ¡nsider?
 lndude payments on debts guaranteed or cosigned by an insider.

    úNo
    Eyes.        L¡st all payments that benefited an insider.

                                                                  Datesof                 Totalamountpaid Arountyorsfillore Reæonforthbpayment
                                                                  FYrErìt                                                                lndude credito/s nanrc




    lnsider's Name


    Number           Street




    City                                State   ZIP Code




EEtrúIA ldentifyl Legal Actions, Repossessions, and Foreclosurcs


 9, \Mlthin 1 year before you filed for hnkru@y rere you a paÉy in ary lanusuit, court acänn, or adminisffiive proceeding?
 List all such matters, induding personal injury cases, small daims acfions, divorces, colled¡on su¡ts, patemity acf¡ons, support or @stody modifications, and contrad
 disputes.

    úruo
    flYes.       Fill in the details.

                                                             Nah¡rc of the   case                            Court or   agency                              Sffi.ls of the case

    Case title                                                                                                                                             Ieendlng
                                                                                                            Court Name                                     [Onappeal
                                                                                                                                                           EConduded
                                                                                                            Number       Street
    Case number

                                                                                                            City                    State      ZIP Code




  10.   Within   I   year befoe you filed for bankrupby vræ ary of your property repæsessed, foÞclæed, gambhed,                     úched,     seiæd, or þvied?
  Check all ûnt apply and fill in the details below.

    ÚNo. coto          t¡ne 11.

    DYes. Fill in the information below.

                                                                              Describethe propeÉy                                       Date                 \ålue of fhe prcpeÉy


    Creditor's Name



    Number           Street                                                  Explain what happened

                                                                             Q    Propeny was repossessed.

                                                                             fl   eroperty was foredosed.

                                                                             I    Property was gamished.
    C¡ty                                 State    ZIP Code                   I    Property was attacfed, seized, or levied.



Ofrcial Form 107                                             Stabment of Financial Afiails for lndividr¡als Filing for BankrupÉcy                                                 page 4
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 Debtor     1              ROBERT                       E                        DEAN                                              Case number      ¡rT   known¡
                           First Name                   Middle Name              Lest Name



   11. w-rthin 9) drys beúoe you filed fior bankruptcy, did any                cedib4 including   a bank or financial institutbn, set   d   any amounts from your accounts or rcf¡¡se
   to makea paymentbecauseyou oæd a deff?

         úr.ro
         DYes. Fill in the details.

                                                                         Describe the action the crcditor took                           I)#ac{ionwæ               Amount
                                                                                                                                         taken
         Creditor's Name



         Number         Street



         C¡ty                               State      ZIP Code
                                                                        Last 4 dþits of account number:




   12.    Wfhin I year beforcyou filed ûor bankru@y wæ arry of your propertyr inthe pæession of an æsigneeforthe benefit of credibrs, a court€ppo¡nted
   rcceiveç a custodian, or anoürer official?

         Mtlo
         Qyes


  EIIÍG List Gertain Gifts and Gontributions

   13.    Wthin    2   yeas      beúorc you filed for bankruptcy did you give arry gifrs with a total valr¡e of morc than $600 per      peson?
         ú¡ro
         Eyes. fiU in the        cletails for eacfr gift.

          Gifts with a    túl     vah¡e of mons than $6üt      per      Describe the gifrs                                              DGyougave                  \lalue
          pelson                                                                                                                        the gifls



      Person to Whom You Gave the G¡fr




     Number             Street



     City                                     State     ZIP Code

     Person's relationsh¡p to you




   14.   Within   2    yeas befiorc you filed for bankrupúcy did you give ary giñs or contrih¡tior¡s with         a   tohl yalue of morc than g600 to any charity?
      h0t¡o

      Eyes. f¡l         in the details for each gift or contribution.




Official   Fom 107                                                 Sftment   of Financhl Afiairs for lndividuab Filing for   Bankrufry                                           page 5
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 Debtor       I                ROBERT                 E                        DEAN                                             Case number l,f known)
                               F¡rst   Name           Middle   Name            Last Name

            Giñs or contibutions to charities          that    llescribe nyhat you contributed                                IÞyor                   \ålræ
            total morcthan $6üt
                                                                                                                              contributed


           Charity's Name




           Number          Street



       City                             State   ZIP Code




  lrEl'ff¡I List Gertain Losses

   15' W¡thin 1 year beúoreyou             filedlor bankru@y orsince youfiled for bankruptcy didyou læe anyfüing becar¡se of thefr, fi¡p, oürer disæter,
                                                                                                                                                         orgambling?
           úruo
           EYes. Fill in the details.
           Describe the propeÉy you læt and                Describe arry insuanoe oorerage for the   læ                      D#of yotrlæ              \álueof prcperty læt
           hourthe læs occuned
                                                           lndude the amount that insurance has paid. List pend¡ng
                                                           insurance claims on line 33 of Scáeduþ AtB: pøWrly.




 EEtrÍA List Gertain Payments or Transfers

  1   6'   wtfiin 1 year before you filed for bankru@y did you or anyone ebe acting              on your behalf pay or tansfur arry property to arryone y(ru   co*¡ulbd abor¡t
  seeking       bankruñy or preparing a bankruptcy petition?
  lndLùde any attomeys, bankruptcy petition preparers, or øedit counseling agencies for services
                                                                                                 required in your bankruptcy.

       úruo
       EYes.       F¡ll in the detaits.

                                                               tÞscriSion and value of arry property hansfurrcd              tÞpaymentor             Amountofpayment
                                                                                                                             bansfurwæmade
       Person Who Was Paid



       Number              Street




      City                             State    ZIP Code


       Email or webs¡te address


      Person      \y'Vho   Made the Payment, if Not you




Ofñcial Form 107                                                 Stabment of Financial Affails for lndividuab Filing for Bankruptry
                                                                                                                                                                                 page 6
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 Debtor     1           ROBERT                E                     DEAN                                                Case number (ff known)
                        First Name             Middle Name           Last Name



      Within I year before you filed for bankruptcy d¡d you or anyone ebe acting on your behar pay or transfur
   I 7'
                                                                                                               any pirperty          b   anyone who o,þrt¡sed to help you
   deal with your creditos or to make pryments to yotr crcdibrs?
   Do not indude any paynrent or transfer hat you listed on line 16.

        úruo
        EYes. Fill   in the detaits.

                                                     Descdption and value ofany   prcpefi tansbned                    hpaymentor              Amountofpayment
                                                                                                                      üansfurÌræ tnade
        Person VVho Was Pa¡d



        Number       Street




     C¡ty                        State   ZIP Code




  18' Within 2yeas befiore you filed for bankruptcy did yor sell, tade, or oÜÞrwise bansfur arry propeÌty to anyone, oúrer than property
                                                                                                                                         ¡'ansfurr€d         ¡n   the
  ordinary course of your business or fnanc¡al fa¡rs?
  lndude both outright transf--rs and transfers made as seorrity (sucfÌ as the granting of a se@rity ¡nterest or mortgage
                                                                                      -                                   on your proæM.
  Do not indude gifts and transfers that you have alæady listed on this   statement.
        úr.¡o
        flYes.   Fill in the detaits.

                                                     Descrifiion and value of property             tÞscdbe arry property or prynÞnts received     DabûansÞrwas
                                                     transGÍed                                     or debb paid in exchanç                        made

     Person \Â/ho Rece¡ved Transfer



     Number          Street




     C¡ty                        State   Ztp Code
     Person's relationship to you




  19'     Wthin 10 yeas beúore you- filed for bankrufiqç did you transftr ary property to   a   self+e{ded ûr¡st or similar device of which you ae a beneficiary?flhese are
  often called assetArcteclbn deviæs.)

     úr.ro
     EYes. Fill in the detaits.

                                                    Description and value ofthe property tsansfiened                                             htsansfurrvas
                                                                                                                                                 made

     Nane oftrust




Official Form 107                                      Stabment of Financlal Affais for lndividuals Filing ûor Bankrupby                                                page 7
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 Debtor     I           ROBERT                E                         DEAN                                               Case number (rf known)
                        First Name            Middle Name

@
                                                                         Last Name
                List Gertain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

  20. Within     I year befiore you filed for bankruptcy     vrere arry financial accounts o¡   instnrrents lpld in your name, or for your benefi! cl*ed, sold, moved, or
   fransfuned?
   lndude checking, savings, money market, or other financial accounts; certificates of deposit; shaæs in banks, credit unions,
                                                                                                                                brokerage houses, pens¡on funds,
   cooperatives, associations, and other financial institrfions.

     úxo                                                                                                                                            -
     EYes. f¡l in the details.

                                                      tast 4 digits of accourit number             [pe   of account or       haccountwæ                  l-ætbalance
                                                                                                   ¡nstrument               clæed, sold, moved, or       befoe clæing or
                                                                                                                            tansfurred                   bansfur

     Name of F¡nancial       lnstiüfion
                                                      xxxx-                                       ICnecking
                                                                                                  Isavlngs
     Number         Strêet
                                                                                                  [Moneymarket
                                                                                                  IBrokerage
                                                                                                  Eottpr-
     Crty                         State ZPde


  2l . D'o you   nor havg or did you      have within 1 year berbre you filed Íor bankruÉof any safe depæit box or oürer       depæibry fur securitÞs, cash, or oürer
  valmHes?

     Mtlo
     EYes. Fill     in the details.

                                                       ì,Vho   ebe had access to it?                      tþscribethe conbnts                            Do you still have
                                                                                                                                                         it?

                                                                                                                                                        Druo
    Name of F¡nancial lrnû'hrtion                     Name
                                                                                                                                                        Ives
    Number          St¡eêt                            Number        Street



                                                      crry                    $me      ZPcode

    Cì1y                         Stab zlPtue

  22. Have you      sbrcd property in a storage unit or phce oüþr than your honr within I year beúore you filed for bankrufty?

     úNo
     EYes.      F¡ll in the details.

                                                       VVhoelse hæ orhad accessto it?                     Describethe conbnús                            Do you still have
                                                                                                                                                         it?

                                                                                                                                                        Er.lo
    Name of Storage Fac¡lity                          l,lame
                                                                                                                                                        Dyes

    Number         Str€et                             Number       Strcet



                                                     cúy                      Slate ZPHe
    Crty                         Sæ ZPtue

Official Form 107                                      StaÞment of Financhl       Afiais Íor lndividrnb Filing Íor Bankruptry                                                page   I
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 Debtor     1            ROBERT                  E                             DEAN                                            Case number (rf known)
                         F¡rst Neme              M¡ddle Name                   Last Name
  .EITæT        ldentifyr Propertyr You Hold or Gontrol for Someone Else

   23' Do you hold or oofibol afry property fhat someone ebe owns? lnclude any property you bonowed
                                                                                                    from, arc                     sbring for, or hold in tnst for sonreone.
       úr.ro
       EYes. Fill in the details.

                                                          Where ¡sthe property?                              Describe the property                          \ålræ


       Owner's Name
                                                         Number     Sbeet


       Number         Strcct

                                                         CrtV                         Stab   ZPCode


     CrtV                       State      ZlPCode




 lrEtf-fù Give Details About Environmental lnformation

   For$e purpose of Part         10, the   following definitions apply:
        Envhonnental law means any federal, state, or local statute or regulation conceming pollution, contam¡nation, releases
                                                                                                                                   of hazardous or toxic substances, wastes,
        or material into the air, land, soil, surface water, groundwater, or other medium, induding statutes or regulations
                                                                                                                            contmlling the deanup of these substances,
        wastes, or material.


        including disposal sites.
        Hazañous   t¡r€,leria/ rneans anything an environmental law defnes as a hazardous waste, hazardous
                                                                                                           substance,           toic subsbnce, hazardous material, pollutant,
        contaminant, or similar term.
  Reportall ndices, releæes, and proceedinç thatyor knorrabort rcgadhss of when they occurrcd.

  Z'   Has any govemmental unit ndified you that you may be lhble or poúenthlly liable under or in violation
                                                                                                             of an erwitonnrental hyv?
     úr.¡o
    EYes. Fill in the details.

                                                        Govemmental unit                              Envi¡onnrental law, if you know it                   Date of notice


    Name of     siÞ                                    Govemmental unit



    Number        Street                               Number     Strcet


                                                       City                State ZPtue

    Crty                        Sìtate ZP    Code




  25. Have you rrotified arry gwemmental unit of arry           rdæe      of   lr-rdous m#rial?
    úNo
    EYes. Fill in the      deta¡ts.




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 Debtor    I              ROBERT                 E                               DEAN                                            Case number ldknow¡,)
                          F¡rst Name             Middle   Name                   Last Name

                                                           Govemmental unit                           Envipnræntal læv, if you know it                       Date of not¡ce


       NafIþof sib                                        Govemmental unit



       Number          Str€et                             Number       St¡eet


                                                          CrtV                   Sæ ZP@ê
       CrtV                       Staæ    ZP Code




  26' Have you been a party in arry iudicial or adm¡n¡süative proceeding under arry envircnnpntal lau¡¡? lnclude seûüenrents
                                                                                                                             and otdels.
       úruo
       EYes. Fill      in the details.

                                                           Court or agency                            t{ah¡re   oftlp   case                                Staû¡s ofthe case


     Case tide
                                                          Court Name                                                                                       IPending
                                                                                                                                                           Eonappeal
                                                                                                                                                           EConcluded
                                                          Number       Strreet


     Case number
                                                          CrtV                   Sïate   ZP Code




 E''trtln           Give Details About Your Business or Connections to Any Business

  ?.    Within 4 years beúorc you filed úor bankruptcy did you own a business or l¡ave any of the úolloving conrcc{ions to arry
                                                                                                                                h.rsiness?
               I   A sote proprietor or self-employed in a trade, profession, or other adiv¡t]4 either full-time or part{ime

               E   A member of a limited tiabitity company (LLC) or timited tiabitity padnership (LLp)

               I   A partner in a partnership

               E   An offcer, direcfor, or managing exeo.¡tive of a corporation

               E   An owner of at least 5% of the voting or equity seo.lriües of a corporation

     úNo.          None of he above appties. Go to Part 12-

     EYes. Check all that apply abo\re and fll in the details       belovv for eacfr business.

                                                            Describe the nah¡rc of ttre br¡siness                        Employer ldentifi cation numbêr
    Name
                                                                                                                         D,o not include Social Security number or   lIN.
                                                                                                                          EIN:

    Number             Strêet
                                                            Narne ofaccountant or bookkeeper                             Dabs h¡siræssexisÞd


                                                                                                                          From
    City                          Sæ     ZPCode



                                                                                                                                 -To_


Offic¡al Form 107                                           Stabment of Financhl Afiairs fo¡ lndividuals Filing ûor Bankruptcy                                                page   l0
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Debtor   1            ROBERT                    E                           DEAN                                                 Case number lif known)
                     First Name                 Middle Name                 Last Name



 28. lllfithin 2 years beûore you filed      for bankrupûcy did you give a financial      sfment       to arrone about your business? lnclude     a!¡   fnanc¡al ¡nsth,rtions, creditors,
  or other pafies.

    úr.¡o
    EYes.      Fill in the details below.

                                                               tlab bsued


    Name                                                  MiI'DD/YYYY


    Number        Strcet




    CitV                        Stde ZPde


 EÍÍrPA         Sign Below

  I have ¡ead tf¡e   ansres     on   thb   Súafem ent   ú Fina¡rcial .Afairs   and any aÉachments, and     I   dechp under penalty of perjury fhat tfie answers    are tn¡e and
 corr€ct I undestand fhat making a fabe súaÞment, conceal¡ng prcperty, or obûaining money or property by fraud in connecÍion wiflr a bankruptqr cæe
 can rcsult in fines upto S250,m0, or imprbonmentfor upto 20 years, or boür. l8 U.S.C. SS 152, 1341, 1519, and 3571.




    x                 of ROBERT E DEAN, Debtor             I
                                                                                   x    Signature of


             Me   0,9f27P:019                                                           Date-


  Did you atlach additional pages ûo your           Sãþmentof Financial Afraircfor lnüvidøls Filing for hnkrupby(Ofñcial Fom l07P

    úr.ro
    EYes

  Did   yol   pay or agree to pay someone who           b not an atbm€y to help you fill out bankruÉcy fonns?
    úruo
                                                                                                                        Attach the Banlruptq Petition Prcpa@¿s l\lotiæ,
    EYes. Name        of person                                                                                         Dedantion, and Signature (Ofñcial Form 119).
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                                                 IN THE UNITED STATES BANKRUPTCY COTJRT
                                                        WESTERT{ ÍìSTRICT OF        VIRqMA
                                                                ROAM)(EtXVtStOt¡
IN RE: DEAN, ROBERTE                                                                     CASE NO

                                                                                         CHAPTER 13




                                                  VERIFICATION OF CREDITOR MATRIX

 The aborc named Debtor heæby verifies that the aüadrcd list of creditos b   tue and coÍect   to the best of hislher knoilledge.


Dale      @t271Ð19                                                       i i-r -.
                                Signature
                                                                         ROBERT        DEAN, Debtor
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                Notice Required by ll U.S.C. S 342(b) for
                lndividuals Filing for Bankruptcy (Form 2010)


                  This notice is for you if:                                             Chapter        7:    Liquidation
                      r   You are an individual filing for
                                                                                                                  s245      filing fee
                          bankruptcy, and
                                                                                                                      $7s   adm¡nistrative fee
                                                                                                       +              $15   trustee surcharge
                      r   Your debts are primarily consumer
                          debts.                                                                                  $335      total fee
                          Consumerdebfs are defined in 11 U.S.C
                          S 101(8) as "incurred by an individual                       Chapter 7 is for individuals who have
                          primarily for a personal, family, or                         financial difficulty preventing them from
                          household purpose."                                          paying the¡r debts and who are willing to
                                                                                       allow their non- exempt property to be used
                                                                                       to pay their creditors. The primary purpose
                                                                                       of filing under chapter 7 is to have your
                                                                                       debts discharged. The bankruptcy discharge
                The types of bankruptcy that are                                       relieves you after bankruptcy from having to
                available to individuals                                               pay many of your pre-bankruptcy debts.
                                                                                       Exceptions exist for particular debts, and
                lndividuals who meet the qualifications may file                       liens on property may still be enforced after
                under one of four different chapters of the                            discharge. For example, a creditor may
                Bankruptcy Code:                                                       have the right to foreclose a home
                                                                                       mortgage or repossess an automobile.
                      r   ChapterT
                                       -Liquidation
                                                                                        However, if the court finds that you have
                      r   Chapter   11-   Reorganization                                committed certain kinds of improper conduct
                                                                                        described in the Bankruptcy Code, the court
                      ¡   Chapter   12-   Voluntary repayment plan                      may deny your discharge.
                                          for family farmers or
                                          fishermen                                     You should know that even if you file chapter 7
                                                                                        and you receive a discharge, some debts are
                      r   Chapter   13-   Voluntary repayment plan                      not discharged under the law. Therefore, you
                                          for individuals with regular                  may still be responsible to pay:
                                          income
                                                                                                r   most taxes;
                You should have an attorney review your                                         r   most student loans;
                 decision to file for bankruptcy and the choice                                 r   most domestic support and property
                 of                                                                                 settlement obligations;
                chapter.




Ndice Requ¡rcd by lf U.S.C. U.S.C. g 3a2(b) for lndividuals F¡l¡ng for Bankruptcy (Form 2010)              page   1
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                                                                                         your income is more than the median income for
                       I   most f¡nes, penalties, forfeitures, and
                                                                                         your state of residence and family size,
                           criminal restitution obligations; and
                                                                                         depending on the results of the Means lesf, the
                       r   certain debts that are not listed in your
                                                                                         U.S. trustee, bankruptcy administrator, or
                           bankruptcy papers.
                                                                                         creditors can file a mot¡on to dismiss your case
                 You may also be required to pay debts arising                           under $ 707(b) ot the Bankruptcy Code. tf a
                 from:                                                                   motion is filed, the court will decide if your case
                                                                                         should be dismissed. To avoid dismissal, you
                       r   fraud or theft;
                                                                                         may choose to proceed under another chapter of
                       r   fraud or defalcation while acting ¡n breach
                                                                                         the Bankruptcy Code.
                           of fiduciary capacity;
                       r   intentional injuries that you inflicted; and
                       r                                                                 lf you are an individual filing for chapter 7
                           death or personal injury caused by
                                                                                         bankruptcy, the trustee may sell your property
                           operating a motor vehicle, vessel, or
                                                                                         to pay your debts, subject to your right to
                           aircraft while intoxicated from alcohol or
                                                                                         exempt the property or a portion of the proceeds
                           drugs.
                                                                                         from the sale of the property. The property, and
                                                                                         the proceeds from property that your
                 lf your debts are primarily consumer debts, the
                                                                                         bankruptcy trustee sells or liquidates that you
                 court can dismiss your chapter 7 case if it finds
                                                                                         are ent¡tled to, is called exempt propefty.
                 that you have enough income to repay creditors
                                                                                         Exemptions may enable you to keep your home,
                 a certain amount. You must tile Chapter 7
                                                                                         a car, clothing, and household items or to
                  Statement of Your Current Monthly lncome
                                                                                         receive some of the proceeds if the property is
                 (Official Form 122A-1) if you are an individual
                                                                                         sold.
                 filing for bankruptcy under chapter 7. This form
                 will determine your current monthly income and
                                                                                         Exemptions are not automatic. To exempt
                 compare whether your income is more than the
                                                                                         property, you must list it on Schedule C: The
                 median income that applies in your state.
                                                                                         Property You Claim as Exempt (Official Form
                                                                                         106C). lf you do not list the property, the
                 lf your income is not above the median for your
                                                                                         trustee may sell it and pay all of the proceeds to
                 state, you will not have to complete the other
                                                                                         your creditors.
                 chapter 7 form,lhe Chapter 7 Means Test
                 Calculation (Official F o(m 1 22A-2).


                 lf your income is above the median for your
                                                                                          Chapter       ll   : Reorganization
                 state, you must file a second form
                                                    -the
                 Chapter 7 Means Test Calculation (Official Form
                                                                                                               $1  ,167 filing fee
                 1224-2). The calculations on the form-
                                                                                                    +             $550 administrativefee
                 sometimes called the Means Test-deduct from                                                   $1,717 total fee
                 your income living expenses and payments on
                 certain debts to determine any amount available                         Chapter 11 is often used for reorganizing a
                 to pay unsecured creditors. lf                                          business, but is also available to individuals. The
                                                                                         provisions of chapter 11 are too complicated to
                                                                                         summarize briefly.




Notice Requircd by 11 u.s.c. u.s.c. g 3a2(b) for Individuats Fiting for Bankruptcy (Form 2010)           pege 2
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                       Because bankruptcy can have serious long-term financial and legal consequences, including
                       loss of your property, you should hire an attorney and carefully consider all of your opt¡ons
                       before you file. Only an attorney can give you legal advice about what can happen as a result
                       of filing for bankruptcy and what your options are. lf you do file for bankruptcy, an attorney
                       can help you f¡ll out the forms properly and protect you, your famil¡ your home, and your
                       possessions.

                       Although the law allows you to represent yourself in bankruptcy court, you should
                       understand that many people find it difficult to represent themselves successfully. The rules
                       are technical, and a mistake or inaction may harm you. lf you file without an attorney, you are
                       still responsible for knowing and following all of the legal requirements.
                       You should not file for bankruptcy if you are not eligible to f¡le or if you do not ¡ntend to file
                       the necessary documents.
                       Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud
                       in your bankruptcy case. Making a false statement, concealing property, or obtaining money
                       or property by fraud ¡n connection with a bankruptcy case can result in fines up to $250,000,
                       or imprisonment for up to 20 years, or both. 18 U.S.C. SS 152, 1341,1519, and 3571.



                  Chapter 12: Repayment plan for                                         Under chapter 13, you must file with the court a
                  family                                                                 plan to repay your creditors all or part of the
                             farmers or f¡shermen                                        money that you owe them, usually using your
                                                                                         future earnings. lf the court approves your plan,
                                      $200 filing fee                                    the court will allow you to repay your debts, as
                             +         $75 administrative        fee                     adjusted by the plan, within 3 years or 5 years,
                                                                                         depending on your income and other factors.
                                      $275     total fee
                                                                                         After you make all the payments under your
                 Similar to chapter 13, chapter 12 permits family                        plan, many of your debts are discharged. The
                 farmers and fishermen to repay their debts over
                                                                                         debts that are not discharged and that you may
                 a period of time using future earnings and to
                                                                                         still be responsible to pay include:
                 discharge some debts that are not pa¡d.
                                                                                                 r   domestic support obligations,
                                                                                                 r   most student loans,
                  Chapter         l3: Repayment plan for                                         I   certa¡n taxes,
                                     individuals with regular                                    !   debts for fraud or theft,
                                     income                                                      r   debts for fraud or defalcation while acting
                                                                                                     in a fiduciary capacity,
                                      $235     filing fee                                        r   most criminal fines and rest¡tut¡on
                              +        $75     administrative fee                                    obligations,

                                      $310     total fee
                                                                                                 r   certain debts that are not listed in your
                                                                                                     bankruptcy papers,

                 Chapter 13 is for individuals who have regular
                                                                                                 ¡   certain debts for acts that caused death
                                                                                                     or
                 income and would like to pay all or part of their
                                                                                                     personal injury, and
                 debts in installments over a period of time and
                 to discharge some debts that are not paid. You
                                                                                                 r   certa¡n long-term secured debts

                 are eligible for chapter 13 only if your debts are
                 not more than certain dollar amounts set forth in
                 11 U.S.C. S 109.




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                     Warning: File Your Forms on Time                                                A married couple may file a bankruptcy
                                                                                                     case together-called Qoint case. lf you
                     Section 521(aX1) of the Bankruptcy Code                                         file a joint case and each spouse lists the
                     requires that you promptly file detailed                                        same mailing address on the bankruptcy
                     information about your creditors, assets,                                       petition, the bankruptcy court generally will
                     liabilities, income, expenses and general                                       mail you and your spouse one copy of
                     financial condition. The court may dismiss                                      each notice, unless you file a statement
                     your bankruptcy case if you do not file this                                    with the court asking that each spouse
                     information within the deadlines set by the                                     receive separate copies.
                     Bankruptcy Code, the Bankruptcy Rules,
                     and the local rules of the court.
                                                                                                     Understand which serv¡ces you
                                                                                                     could receive from credit
                     For more information about the documents                                        counsel¡ng agencies
                     and their deadlines, go to:
                     http ://www. uscou rts.     gov/bkforms                                         The law generally requires that you receive
                     /bankruptcy_form                                                                a cred¡t counsel¡ng briefing from an
                     s.html#procedure.                                                               approved credit counseling agency. l1
                                                                                                     U.S.C. S 109(h). lf you are filing a joint
                                                                                                     case, both spouses must receive the
                Bankruptcy cr¡mes have serious
                                                                                                     briefing. With limited exceptions, you must
                consequences
                                                                                                     receive it within the 180 days before you
                        r   lf you knowingly and fraudulently                                        file your bankruptcy petition. This briefing
                            conceal                                                                  is usually conducted by telephone or on
                            assets or make a false oath or statement                                 the lnternet.
                            under penalty of perjury-either orally or
                            in writing-in connection with a                                          ln addition, after filing a bankruptcy case,
                            bankruptcy case, you may be fined,                                       you generally must complete a financial
                            imprisoned, or both.                                                     management instructional course before
                        r   All information you supply in connection                                 you can receive a discharge. lf you are
                            with a bankruptcy case is subject to                                     filing a joint case, both spouses must
                            examination by the Attorney General                                      complete the course.
                            acting
                            through the Office of the U.S. Trustee,                                  You can obtain the list of agencies
                            the                                                                      approved to provide both the briefing and
                            Office of the U.S. Attorney, and other                                   the instructional course from:
                            offices and employees of the U.S.                                        http //j ustice. gov/usUeo/ha pcpa
                                                                                                         :


                            Department of Justice.                                                   /ccde/cc_approved. html.


                Make sure the court has your                                                         ln Alabama and North Carolina, go to:
                mailing address                                                                      http ://www. uscourts. gov/FederalCourts
                                                                                                     /Bankruptcy/
                The bankruptcy court sends notices to the                                            Bankru ptcyResou rces/ApprovedCred it
                mailing address you list on Voluntary Petition for                                   AndDebtCounselors.aspx.
                Indiv id u al s F il i ng for Bankru pfcy(Off cia I Fo rm
                                                                i


                101). To ensure that you receive information                                         lf you do not have access to a computer,
                about your case, Bankruptcy Rule 4002 requires                                       the clerk of the bankruptcy court may be
                that you notify the court of any changes in your                                     able to help you obtain the l¡st.
                address.

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